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      IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
      IRA KLEIMAN on 04/08/2019                                                       ·

·1· · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

·4
· ·   ·IRA KLEIMAN, as the personal
·5·   ·representative of the Estate of
· ·   ·David Kleiman, and W&K Info Defense
·6·   ·Research, LLC

·7
· ·   · · · · · ·Plaintiffs,
·8
· ·   ·-vs-
·9
· ·   ·CRAIG WRIGHT
10
· ·   · · · · · ·Defendant.
11

12· ·* * * * * * * * * * * * * * * * * * *

13· ·VIDEOTAPED DEPOSITION OF IRA KLEIMAN

14· ·DATE TAKEN: April 8, 2019

15· ·TIME: 10:10 - 2:55 p.m.

16· ·PLACE:100 S.E. 2nd Street

17· ·Miami, Florida 33131

18
· · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
19· · · · · · · · ·AND NOTARY PUBLIC

20

21· ·* * * * * * * * * * * * * * * * * * *

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IRA KLEIMAN on 04/08/2019                                                                                                        Pages 2..5
                                                                     Page 2                                                           Page 4
·1·   ·APPEARANCES:                                                           ·1· · · · · · · · · · P R O C E E D I N G S
·2·   ·On behalf of the Plaintiff:
·3·   · · · KYLE ROCHE, ESQUIRE                                               ·2· · · · · · · · · · · · · · - - -
· ·   · · · BOIES, SCHILLER & FLEXNER LLP                                     ·3· · · · Deposition taken before Rick E. Levy,
·4·   · · · 333 Main Street
                                                                              ·4· ·Registered Professional Reporter and Notary Public
· ·   · · · Armonk, NY 10504
·5                                                                            ·5· ·in and for the State of Florida at Large, in the
· ·   ·   ·   ·   VEL FREEDMAN, ESQUIRE                                       ·6· ·above cause.
·6·   ·   ·   ·   ANDREW BRENNER, ESQUIRE
                                                                              ·7· · · · · · · · · · · · · ·-· - -
· ·   ·   ·   ·   BOIES, SCHILLER & FLEXNER LLP
·7·   ·   ·   ·   100 S.E. 2nd Street                                         ·8· · · · · · ·THE VIDEOGRAPHER:· Good morning.· We are now
· ·   ·   ·   ·   Suite 2800                                                  ·9· · · · on the record in the matter of Kleiman, Ira and the
·8·   ·   ·   ·   Miami, Florida 33131
                                                                              10· · · · estate of David Kleiman vs. Wright, Craig.· Today
·9
10·   ·On behalf of the Defendant:                                            11· · · · is April 8th 2019.· The time is now 10:10 a.m.
11                                                                            12· · · · · · ·This is the video recorded deposition of
· ·   ·   ·   ·   BRYAN PASCHAL, ESQUIRE
12·   ·   ·   ·   AMANDA MCGOVERN, ESQUIRE
                                                                              13· · · · Mr. Ira Kleiman being taken here at 100 Southeast
· ·   ·   ·   ·   ANDRES RIVERO, ESQUIRE (VIA PHONE)                          14· · · · 2nd Street, Suite 2800, Miami, Florida 33131.· My
13·   ·   ·   ·   RIVERO MESTRE, LLP                                          15· · · · name is Rene Lavandera representing First Choice
· ·   ·   ·   ·   2525 Ponce de Leon Boulevard
14·   ·   ·   ·   Suite 1000
                                                                              16· · · · Reporting located in Orlando, Florida.
· ·   ·   ·   ·   Coral Gables, Florida 33134                                 17· · · · · · ·The court reporter this morning is Mr. Rick
15                                                                            18· · · · Levy.· Will all counsel present please introduce
16
17·   ·Also Present: Rene Lavandera, The Videographer                         19· · · · yourselves for the record?
18                                                                            20· · · · · · ·MR. PASCHAL:· Bryan Paschal for Dr. Craig
19
                                                                              21· · · · Wright and Amanda McGovern for Dr. Craig Wright as
20
21                                                                            22· · · · well.
22                                                                            23· · · · · · ·MR. RIVERO:· Andres Rivero on the telephone
23
                                                                              24· · · · also representing Dr. Craig Wright.
24
25                                                                            25· · · · · · ·MR. ROCHE:· Kyle Roche of Boies, Schiller &
                                                                     Page 3                                                           Page 5
·1·   · · · · · · · · · · · · ·-· - -                                         ·1· · · · Flexner representing plaintiffs.
· ·   · · · · · · · · · · · · I N D E X
·2·   · · · · · · · · · · · · ·-· - -                                         ·2· · · · · · ·MR. FREEDMAN:· Vel Freedman, Boies, Schiller
·3·   ·WITNESS:· · · ·DIRECT· · CROSS· ·REDIRECT· ·RECROSS                    ·3· · · · representing plaintiff.
· ·   ·IRA KLEIMAN
·4·   ·BY MR. PASCHAL· ·5                                                     ·4· · · · · · ·THE VIDEOGRAPHER:· Mr. Court reporter, you may
·5·   · · · · · · · · · · · · ·-· - -
                                                                              ·5· · · · swear in the witness.
· ·   · · · · · · · · · · ·E X H I B I T S
·6·   · · · · · · · · · · · · ·-· - -                                         ·6· ·Thereupon,
·7
                                                                              ·7· · · · · · · · · · · · (Ira Kleiman)
· ·   ·NUMBER· · ·       · ·   · · · · · · · · PAGE
·8·   ·DEFENDANT'S       EX.   1· · · · · · · · ·6                            ·8· · · · · · ·having been first duly sworn or affirmed,
· ·   ·DEFENDANT'S       EX.   2· · · · · · · · ·29
·9·   ·DEFENDANT'S       EX.   3· · · · · · · · ·34
                                                                              ·9· ·was examined and testified as follows:
· ·   ·DEFENDANT'S       EX.   4· · · · · · · · ·37                           10· · · · · · · · · · · DIRECT EXAMINATION
10·   ·DEFENDANT'S       EX.   5· · · · · · · · ·39
· ·   ·DEFENDANT'S       EX.   6· · · · · · · · ·45
                                                                              11· · · · · · ·THE WITNESS:· Yes.
11·   ·DEFENDANT'S       EX.   7· · · · · · · · ·56                           12· ·BY MR. PASCHAL:
· ·   ·DEFENDANT'S       EX.   8· · · · · · · · ·58
12·   ·DEFENDANT'S       EX.   9· · · · · · · · ·59
                                                                              13· · · · Q.· ·Could you please state your full name?
· ·   ·DEFENDANT'S       EX.   10· · · · · · · · 63                           14· · · · A.· ·Ira Kleiman.
13·   ·DEFENDANT'S       EX.   11· · · · · · · · 82
· ·   ·DEFENDANT'S       EX.   12· · · · · · · · 84
                                                                              15· · · · Q.· ·Ira, have you ever been deposed before?
14·   ·DEFENDANT'S       EX.   13· · · · · · · · 90                           16· · · · A.· ·No.
· ·   ·DEFENDANT'S       EX.   14· · · · · · · · 108
15·   ·DEFENDANT'S       EX.   15· · · · · · · · 115
                                                                              17· · · · Q.· ·I'll go over a few basics how a deposition is
· ·   ·DEFENDANT'S       EX.   16· · · · · · · · 123                          18· ·going to work today.· We need you to provide clear, oral
16·   ·DEFENDANT'S       EX.   17· · · · · · · · 122
· ·   ·DEFENDANT'S       EX.   18· · · · · · · · 138
                                                                              19· ·responses so the court reporter, this is the court
17·   ·DEFENDANT'S       EX.   19· · · · · · · · 139                          20· ·reporter, can hear you.· Please keep in mind the court
18
19
                                                                              21· ·reporter can only take down one person at a time so only
20                                                                            22· ·one person can talk at a time.· Do you understand?
21
22                                                                            23· · · · A.· ·Yes.
23                                                                            24· · · · Q.· ·If at any time I ask you a question that you
24
25                                                                            25· ·do not understand please let me know right away


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                                                        Page 6                                                          Page 8
·1· ·otherwise I'll assume that you understood the question;     ·1· · · · · · ·MS. MCGOVERN:· Can you speak up a little bit?
·2· ·okay?                                                       ·2· · · · · · ·THE WITNESS:· Yes, I haven't done anything.
·3· · · · A.· ·Yes.                                              ·3· ·BY MR. PASCHAL:
·4· · · · Q.· ·If at any point you remember something or want    ·4· · · · Q.· ·Did you look at any documents?
·5· ·to clarify an answer you previously gave please do so.      ·5· · · · A.· ·I reviewed some of my old e-mails, yes.
·6· ·You understand?                                             ·6· · · · Q.· ·About how many e-mails did you review?
·7· · · · A.· ·Yes.                                              ·7· · · · A.· ·I don't know.
·8· · · · Q.· ·If you need to take a break at any point just     ·8· · · · Q.· ·You met with your attorneys, right?
·9· ·let me know, okay?                                          ·9· · · · A.· ·Yes.
10· · · · A.· ·(Indicating).                                     10· · · · Q.· ·What's your date of birth?
11· · · · Q.· ·Is there any reason preventing you from giving    11· · · · A.· ·October 16, 1970.
12· ·your best deposition testimony today?                       12· · · · Q.· ·Where were you born?
13· · · · A.· ·No.                                               13· · · · A.· ·New Jersey.
14· · · · Q.· ·Are you currently on any prescribed               14· · · · Q.· ·When did you move to Florida?
15· ·medication?                                                 15· · · · A.· ·1975.
16· · · · A.· ·No.                                               16· · · · Q.· ·Have you always lived in Palm Beach Gardens?
17· · · · Q.· ·Is there any medical condition or other reason    17· · · · A.· ·No.
18· ·why it might be difficult for you understand my             18· · · · Q.· ·Where else did you live?
19· ·questions today?                                            19· · · · A.· ·Hollywood, Florida.
20· · · · A.· ·No.                                               20· · · · Q.· ·How long did you live in Hollywood, Florida?
21· · · · · · ·MR. PASCHAL:· This is going to be Exhibit 1.      21· · · · A.· ·Maybe two or three years.
22· · · · · · ·(Defendant's Exhibit No. 1 was                    22· · · · Q.· ·Is that right after you moved from Jersey?
23· · · · · · ·marked for identification.)                       23· · · · A.· ·Yes -- no.· We went from New Jersey to
24· ·BY MR. PASCHAL:                                             24· ·California for I think just about one year and then
25· · · · Q.· ·If you turn to page two of that exhibit this      25· ·Hollywood.
                                                        Page 7                                                          Page 9
·1· ·is the topics that you're to -- you're here for today in    ·1· · · · Q.· ·So when did you move to Palm Beach Gardens?
·2· ·this deposition.                                            ·2· · · · A.· ·Probably around 1978.
·3· · · · A.· ·Okay.                                             ·3· · · · Q.· ·From 1998 -- I show that you purchased the
·4· · · · Q.· ·When did you first see this list?                 ·4· ·home in 1998.· Was that your first home that you
·5· · · · A.· ·When did I first receive this list?               ·5· ·purchased?
·6· · · · Q.· ·When did you review this list?                    ·6· · · · A.· ·Yes.
·7· · · · A.· ·I believe my attorneys sent it to me maybe --     ·7· · · · Q.· ·Then you have that home until 2014 and it was
·8· · · · · · ·MR. FREEDMAN:· One second.· Don't discuss         ·8· ·located at Geminata Oak Court in Palm Beach Gardens; is
·9· · · · anything that we spoke with you.· If you can answer    ·9· ·that right?
10· · · · the question by just giving a date, good.· If not      10· · · · A.· ·Yes.
11· · · · you can't recall you can't recall.                     11· · · · Q.· ·2014 through today you have a home that's
12· · · · · · ·THE WITNESS:· I don't remember exactly.           12· ·located at Bent Tree Drive in Palm Beach Gardens; is
13· ·BY MR. PASCHAL:                                             13· ·that correct?
14· · · · Q.· ·Did you see this list before today?               14· · · · A.· ·Yes.
15· · · · A.· ·Yes.                                              15· · · · Q.· ·How long have you been married?
16· · · · Q.· ·Are you prepared to discuss these topics          16· · · · A.· ·Since 2009.
17· ·today?                                                      17· · · · Q.· ·What is your wife's name?
18· · · · A.· ·Yes.                                              18· · · · A.· ·Ju.
19· · · · Q.· ·What did you do to prepare?                       19· · · · Q.· ·Ju Kleiman?
20· · · · · · ·MR. FREEDMAN:· Again don't discuss anything       20· · · · A.· ·Yes.
21· · · · you spoke about with your attorneys but to the         21· · · · Q.· ·Did she go by the name of Sasithorn?
22· · · · extent you've done preparation you should answer       22· · · · A.· ·Yes.
23· · · · the question.                                          23· · · · Q.· ·When did she change her name?
24· · · · · · ·THE WITNESS:· I haven't done anything to          24· · · · A.· ·I guess Sasithorn would be her official Thai
25· · · · prepare.                                               25· ·name.· Ju is what she goes by in the States.


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                                                       Page 10                                                          Page 12
·1· · · · Q.· ·That's her legal name?                            ·1· · · · A.· ·Yes.
·2· · · · A.· ·I suppose so.· Sasithorn.                         ·2· · · · Q.· ·Is there a reason you --
·3· · · · Q.· ·Sasithorn is her legal name?                      ·3· · · · A.· ·Certain amount of years I went by Steve and
·4· · · · A.· ·Yes.                                              ·4· ·earlier people that know me from a younger age always
·5· · · · Q.· ·What is your wife's occupation?                   ·5· ·call me Ira.
·6· · · · A.· ·She doesn't work.                                 ·6· · · · Q.· ·So it's interchangeable?
·7· · · · Q.· ·You have two other siblings; right?               ·7· · · · A.· ·Yes.
·8· · · · A.· ·Yes, I had two siblings, yes.                     ·8· · · · Q.· ·Have you ever been charged or accused of a
·9· · · · Q.· ·Was that Dave and Leonard Kleiman?                ·9· ·crime?
10· · · · A.· ·Yes.                                              10· · · · A.· ·No.
11· · · · Q.· ·How did Leonard pass away?                        11· · · · Q.· ·What schools have you attended?
12· · · · A.· ·I believe a drug overdose.                        12· · · · A.· ·Palm Beach Gardens High School and Palm Beach
13· · · · Q.· ·Did you speak with him often?                     13· ·Community College.
14· · · · A.· ·Not too often, no.                                14· · · · Q.· ·Was the community college, that was the last
15· · · · Q.· ·Do you know why Dave excluded Leonard from his    15· ·school attended?
16· ·will?                                                       16· · · · A.· ·Yes.
17· · · · A.· ·They were --                                      17· · · · Q.· ·What degrees and certifications do you have?
18· · · · · · ·MR. FREEDMAN:· Hold on, you're outside the        18· · · · A.· ·I just have a high school diploma.
19· · · · scope of your deposition unless you can tell me        19· · · · Q.· ·So you didn't graduate from the community
20· · · · what topic you're tied to then I'm happy to let you    20· ·college?
21· · · · proceed.· Otherwise I think you're outside the         21· · · · A.· ·No.
22· · · · scope.                                                 22· · · · Q.· ·Did you get any certifications from the
23· · · · · · ·MR. PASCHAL:· You're going to instruct him not    23· ·community college?
24· · · · to answer?                                             24· · · · A.· ·No.
25· · · · · · ·MR. FREEDMAN:· Unless you tell me what topic,     25· · · · Q.· ·Do you have any professional licenses?
                                                       Page 11                                                          Page 13
·1· · · · yes.                                                   ·1· · · · A.· ·No.
·2· · · · · · ·MR. PASCHAL:· I think this ties into location     ·2· · · · Q.· ·What is your current profession?
·3· · · · of evidence of the case.· I think that was a           ·3· · · · A.· ·Self employed, web site designer, affiliate
·4· · · · general order from the Court.                          ·4· ·marketing.
·5· · · · · · ·MR. FREEDMAN:· How does the reason Dave           ·5· · · · Q.· ·What type of web sites do you design?
·6· · · · Kleiman did or did not exclude one of his brothers     ·6· · · · A.· ·Basically I just design my own type of web
·7· · · · tie into the --                                        ·7· ·sites that are related to affiliate marketing.
·8· · · · · · ·MR. PASCHAL:· This is my deposition.· I'm         ·8· · · · Q.· ·What's affiliate marketing?
·9· · · · asking him.                                            ·9· · · · A.· ·Like take Amazon as an example.· Put up a web
10· · · · · · ·MR. FREEDMAN:· Don't answer the question.         10· ·site and you advertise other people's products and if
11· ·BY MR. PASCHAL:                                             11· ·someone clicks through you would -- you receive a
12· · · · Q.· ·Have you ever been sued?                          12· ·commission when someone purchases.
13· · · · A.· ·No.                                               13· · · · Q.· ·So do you typically do work for companies or
14· · · · Q.· ·Have you ever sued someone or an entity           14· ·individuals?
15· ·excluding this lawsuit?                                     15· · · · A.· ·Just myself.
16· · · · A.· ·Yes.                                              16· · · · Q.· ·I guess the way that you get -- how do you
17· · · · Q.· ·What lawsuit was that?                            17· ·charge people, it's by the clicking?
18· · · · A.· ·A case against Computer Forensics, LLC.           18· · · · A.· ·I receive commission.· That's it.
19· · · · Q.· ·What is currently happening in that case?         19· · · · Q.· ·Do you work from home or an office?
20· · · · A.· ·It's still ongoing.                               20· · · · A.· ·From home.
21· · · · Q.· ·There's another lawsuit here it might not be      21· · · · Q.· ·Is that your primary source of income?
22· ·you it says Steve Kleiman vs. Metropolitan Health           22· · · · A.· ·And trading stocks.
23· ·Networks?                                                   23· · · · Q.· ·How much money more or less do you make from
24· · · · A.· ·Not me.                                           24· ·trading stocks?
25· · · · Q.· ·Sometimes you go by your middle name Steven?      25· · · · · · ·MR. FREEDMAN:· Wait, stop.· You're outside the


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                                                       Page 14                                                          Page 16
·1· · · · scope of your deposition.· Instruct him not to         ·1· · · · if you're going to give me time to dictate a
·2· · · · answer unless you tie it to a topic.                   ·2· · · · report?
·3· · · · · · ·MR. PASCHAL:· These are background questions      ·3· · · · · · ·MS. MCGOVERN:· Absolutely, no.· Would never do
·4· · · · trying to find out.                                    ·4· · · · that.· Not going to disclose anything.· I don't
·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.         ·5· · · · think a blanket confidential stamp over the
·6· · · · · · ·MR. PASCHAL:· I can't find out about his          ·6· · · · plaintiff's deposition is appropriate in this case.
·7· · · · professional --                                        ·7· · · · Just stating that for the record.
·8· · · · · · ·MR. FREEDMAN:· Not unless you tie it to topic     ·8· · · · · · ·MR. FREEDMAN:· Okay.· Just so it's clear --
·9· · · · you disclosed.· Tie it to a topic and I'll give it     ·9· · · · the record is clear I'm saying it's temporary.
10· · · · to you.                                                10· · · · We're just saying don't disclose anything, we'll go
11· · · · · · ·MR. PASCHAL:· Are you instructing him not to      11· · · · through it and then we'll --
12· · · · answer?                                                12· · · · · · ·MR. PASCHAL:· That's fine.· I want to go back
13· · · · · · ·MR. FREEDMAN:· Yes, unless you tie it to a        13· · · · to the questions you told him not to answer.· We
14· · · · topic.                                                 14· · · · did ask for his technical experience and how much
15· ·BY MR. PASCHAL:                                             15· · · · money he was making off this technical experience.
16· · · · Q.· ·How much -- what was your income for your         16· · · · · · ·MR. FREEDMAN:· Disagree with that.· Take that
17· ·affiliate marketing?                                        17· · · · up with the judge.
18· · · · · · ·MR. FREEDMAN:· Same instruction.                  18· · · · · · ·MR. PASCHAL:· So you did not object in your
19· · · · · · ·MR. PASCHAL:· Not to answer?                      19· · · · e-mail but you're going to tell him not to --
20· · · · · · ·MR. FREEDMAN:· Don't answer unless you tie it     20· · · · instruct him?
21· · · · to a topic.                                            21· · · · · · ·MR. FREEDMAN:· Don't agree this goes to the
22· ·BY MR. PASCHAL:                                             22· · · · technical experience.· The amount of money they
23· · · · Q.· ·From 2012 to today relatively what was your       23· · · · make doesn't go to technical experience.
24· ·income?                                                     24· ·BY MR. PASCHAL:
25· · · · · · ·MR. FREEDMAN:· Again don't answer unless he       25· · · · Q.· ·Have you ever been fired from a job?
                                                       Page 15                                                          Page 17
·1· · · · ties it to a topic.                                    ·1· · · · A.· ·No.
·2· ·BY MR. PASCHAL:                                             ·2· · · · Q.· ·Have you ever been asked to resign from a job?
·3· · · · Q.· ·What was your previous occupations?               ·3· · · · A.· ·No.
·4· · · · A.· ·The last time I worked for somebody I think it    ·4· · · · Q.· ·I want to ask you about a few companies you've
·5· ·was for a company called Active Frame.· I was also doing    ·5· ·been involved with.· What was the business purpose of
·6· ·web design for them.· Prior to that just like part-time     ·6· ·The Gigabyte Connection?
·7· ·jobs, florist delivery, stock person at pharmacy.· For      ·7· · · · A.· ·I set that company up a long time ago. I
·8· ·the most part I've pretty much always worked for myself.    ·8· ·don't even remember what I was doing with that.· I'm not
·9· · · · · · ·MR. FREEDMAN:· Just one housekeeping matter.      ·9· ·even sure I actually used it or not.
10· · · · I forgot to do this before we started we're going      10· · · · Q.· ·How long ago did you set it up?
11· · · · the mark the whole deposition transcript               11· · · · A.· ·I think it was in the '90s.
12· · · · confidential and then we'll go through it obviously    12· · · · Q.· ·Do you know how long it lasted?
13· · · · with the timeframe.· For now everything is             13· · · · A.· ·No, I don't remember.
14· · · · confidential.                                          14· · · · Q.· ·Did you set it up with any business partners?
15· · · · · · ·MS. MCGOVERN:· We disagree with that position.    15· · · · A.· ·No, it was my own company.· Probably going to
16· · · · · · ·MR. FREEDMAN:· The same for Dr. Wright just so    16· ·do some kind of computer related type of business with
17· · · · you know.                                              17· ·it.
18· · · · · · ·MS. MCGOVERN:· I think it was a different         18· · · · Q.· ·So Future World Shopper, Inc.· What was the
19· · · · situation.                                             19· ·business purpose of that company?
20· · · · · · ·MR. FREEDMAN:· Is it your position that you'll    20· · · · A.· ·I intended on setting up like an online
21· · · · disclose things from the deposition immediately?       21· ·portal.· I guess at the time I think they only had like
22· · · · · · ·MS. MCGOVERN:· Not taking any position with       22· ·BBSs.· I don't think the internet existed and I was
23· · · · respect to Dr. Wright's deposition.                    23· ·thinking of creating a portal where people could log
24· · · · · · ·MR. FREEDMAN:· I need to know if you intend to    24· ·into it and purchase products.· I guess similar to what
25· · · · disclose things from the deposition immediately or     25· ·people do with Amazon today.· It never got off the

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                                                       Page 18                                                          Page 20
·1· ·ground.                                                     ·1· · · · MR. PASCHAL:· How much Bitcoin he has is
·2· · · · Q.· ·What about Hackers, Inc.?                         ·2· ·outside the scope?
·3· · · · A.· ·That wasn't my company.· That was my              ·3· · · · MR. FREEDMAN:· You tell me where the topics
·4· ·brother's.                                                  ·4· ·that list the amount of crypto assets that are
·5· · · · Q.· ·Which brother?                                    ·5· ·being held.
·6· · · · A.· ·David.                                            ·6· · · · MR. PASCHAL:· I don't know.· Let me ask this
·7· · · · Q.· ·Did you work with Dave in that company?           ·7· ·then.· That was your topic we put it on here and
·8· · · · A.· ·No.                                               ·8· ·you guys asked that question so is it your position
·9· · · · Q.· ·Do you know what was the purpose of that          ·9· ·that's not -- that asking how much Bitcoin somebody
10· ·company?                                                    10· ·has is outside the scope?· I'm fine if that's your
11· · · · A.· ·I think he was doing some kind of computer        11· ·response.
12· ·consulting with a partner.                                  12· · · · MR. FREEDMAN:· Is it in yours?
13· · · · Q.· ·Do you know who that partner was?                 13· · · · MR. PASCHAL:· I copied yours.· I put that in
14· · · · A.· ·I think his name was Scott Howell.                14· ·and you had no objection.
15· · · · Q.· ·What's the status of that company?                15· · · · MR. FREEDMAN:· Where is the topic that says
16· · · · A.· ·That was closed many years -- that was like       16· ·the amount of Bitcoin mined or owned I think is the
17· ·early '90s.                                                 17· ·question.
18· · · · Q.· ·It was closed?                                    18· · · · MR. PASCHAL:· One of them and you asked that
19· · · · A.· ·Yes.                                              19· ·question.
20· · · · Q.· ·What about Steve's Web Design?                    20· · · · MR. FREEDMAN:· If you show it to me I can read
21· · · · A.· ·I don't think I ever did anything with it.        21· ·it.· If you don't show it to me --
22· · · · Q.· ·You just created it?                              22· · · · MR. PASCHAL:· Let me ask this question.· If
23· · · · A.· ·Yes.                                              23· ·you asked that at your depo are you saying it was
24· · · · Q.· ·Did you have any partners in that?                24· ·outside the scope of your deposition topics?
25· · · · A.· ·No.                                               25· · · · MR. FREEDMAN:· My questions were different --
                                                       Page 19                                                          Page 21
·1· · · · Q.· ·Ira, how many computers do you own?               ·1· · · · my list of topics are different than your list of
·2· · · · A.· ·Primarily one laptop.                             ·2· · · · topics.· I had just off the top of my head I
·3· · · · Q.· ·Do you own any computers from Dave?               ·3· · · · remember I had the words Satoshi Yakamoto in mine
·4· · · · A.· ·Oh, yes, if you're including Dave's.              ·4· · · · and I don't see it in yours.· This isn't an
·5· · · · Q.· ·In all how many computers do you own?             ·5· · · · identical copy of my list.
·6· · · · A.· ·I think Dave had three laptops.                   ·6· · · · · · ·MR. PASCHAL:· So you're instructing him not to
·7· · · · Q.· ·What was his three laptops?                       ·7· · · · answer the question?
·8· · · · A.· ·Two of them were Alienware.· One was a Dell       ·8· · · · · · ·MR. FREEDMAN:· Correct.
·9· ·laptop.                                                     ·9· ·BY MR. PASCHAL:
10· · · · Q.· ·What's the one computer that you own?             10· · · · Q.· ·Are you familiar with how Bitcoin is stored on
11· · · · A.· ·I believe it's an ASIS.                           11· ·a device?
12· · · · Q.· ·ASIS.· What year did you purchase that            12· · · · A.· ·Not really.
13· ·computer?                                                   13· · · · Q.· ·Have you read any literature on Bitcoin and
14· · · · A.· ·I don't remember.                                 14· ·crypto currency?
15· · · · Q.· ·Was it after 2013?                                15· · · · A.· ·I've read articles about it.
16· · · · A.· ·I don't know.                                     16· · · · Q.· ·If you own Bitcoin how are you not familiar in
17· · · · Q.· ·Did you purchase it with a credit card?           17· ·the manner in which it's owned?
18· · · · A.· ·I'm not sure.· I may have got it like from one    18· · · · · · ·MR. FREEDMAN:· Hold on a second.· Can you
19· ·of my affiliate marketing web sites where it's possible     19· · · · repeat the question?
20· ·I didn't need a credit card to purchase it.                 20· · · · · · ·MR. PASCHAL:· Want me to repeat it or want the
21· · · · Q.· ·Do you own any Bitcoin or crypto currency?        21· · · · reporter?
22· · · · A.· ·Yes.                                              22· · · · · · ·MR. FREEDMAN:· You can repeat it or the
23· · · · Q.· ·How much?                                         23· · · · reporter, whatever your preference.
24· · · · · · ·MR. FREEDMAN:· Don't answer the question.         24· ·BY MR. PASCHAL:
25· · · · You're outside the scope of your deposition.           25· · · · Q.· ·If you own Bitcoin how are you not familiar

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·1· ·with how it's stored?                                       ·1· · · · A.· ·I --
·2· · · · · · ·MR. FREEDMAN:· Objection.· You can answer the     ·2· · · · · · ·MR. FREEDMAN:· Objection.
·3· · · · question.                                              ·3· · · · · · ·THE WITNESS:· Not really.
·4· · · · · · ·THE WITNESS:· I don't know the technical          ·4· ·BY MR. PASCHAL:
·5· · · · workings of how it works.· I just know you can         ·5· · · · Q.· ·So in 2009 you met Dave in person -- or you
·6· · · · purchase it.                                           ·6· ·saw him in person.· From then though just relatively how
·7· ·BY MR. PASCHAL:                                             ·7· ·many times would you speak with him per year, was it
·8· · · · Q.· ·Is it stored on your computer?                    ·8· ·monthly, weekly?
·9· · · · · · ·MR. FREEDMAN:· Objection, hold on.· If you        ·9· · · · · · ·MR. FREEDMAN:· Objection.
10· · · · know what the question means you can answer.           10· · · · · · ·THE WITNESS:· It would vary.
11· · · · · · ·THE WITNESS:· Is it --                            11· ·BY MR. PASCHAL:
12· · · · · · ·MR. PASCHAL:· You can have a standing             12· · · · Q.· ·I just want to be clear the last time that you
13· · · · objection to form but we're not going to have          13· ·saw your brother was 2009; right?
14· · · · speaking objections so let's not do that today,        14· · · · A.· ·I believe so.
15· · · · okay?                                                  15· · · · Q.· ·Under what circumstances was that?
16· · · · · · ·MR. FREEDMAN:· Isn't that ironic?                 16· · · · A.· ·We were having Thanksgiving dinner.
17· · · · · · ·MR. PASCHAL:· You can answer the question.        17· · · · Q.· ·Did you have any other business ventures with
18· · · · · · ·THE WITNESS:· I've heard that it can be stored    18· ·Dave?
19· · · · on a computer.                                         19· · · · A.· ·No.
20· ·BY MR. PASCHAL:                                             20· · · · Q.· ·Did you ever work together with Dave in any
21· · · · Q.· ·So as you own Bitcoin do you know how it's        21· ·business?
22· ·held?                                                       22· · · · A.· ·No.
23· · · · · · ·MR. FREEDMAN:· Objection.· Go ahead and           23· · · · Q.· ·Dave's autopsy report showed that he had
24· · · · answer.                                                24· ·cocaine in his system.· Did you know anything about
25· · · · · · ·THE WITNESS:· Not really.                         25· ·that?
                                                       Page 23                                                          Page 25
·1· ·BY MR. PASCHAL:                                             ·1· · · · · · ·MR. FREEDMAN:· Objection.· What topic is this
·2· · · · Q.· ·I want to ask you a few questions about your      ·2· · · · relating to?
·3· ·relationship with Dave.· Before Dave passed away when       ·3· · · · · · ·MR. PASCHAL:· If he is not going to answer
·4· ·was the last time you spoke with him?                       ·4· · · · tell him.
·5· · · · · · ·MR. FREEDMAN:· Hold on, Ira.· What topic does     ·5· · · · · · ·MR. FREEDMAN:· You can't tell me which topics
·6· · · · this relate to?                                        ·6· · · · this relates to?
·7· · · · · · ·MR. PASCHAL:· His communications with Dave.       ·7· · · · · · ·MR. PASCHAL:· This goes to background
·8· · · · · · ·MR. FREEDMAN:· I think you're a little bit        ·8· · · · information.· Trying to find documents that was the
·9· · · · outside.· I'll give you some leeway.· Go ahead Ira,    ·9· · · · general mandate from the Court.
10· · · · answer the question.                                   10· · · · · · ·MR. FREEDMAN:· I just don't see how Ira's
11· · · · · · ·THE WITNESS:· 2009 November.                      11· · · · knowledge of cocaine in Dave's system has anything
12· ·BY MR. PASCHAL:                                             12· · · · to do with the --
13· · · · Q.· ·That was the last time you spoke with him?        13· ·BY MR. PASCHAL:
14· · · · A.· ·No, that's the last time I saw him.· The last     14· · · · Q.· ·Do you have any documents showing that Dave
15· ·time I spoke with him would probably be sometime late       15· ·had cocaine in his system?
16· ·2012.                                                       16· · · · A.· ·I would have to look at the autopsy report
17· · · · Q.· ·Was that by phone or e-mail?                      17· ·again.
18· · · · A.· ·I think I have an e-mail around that date and     18· · · · Q.· ·That's the only document that you have?
19· ·I also think I spoke with him on the phone around then      19· · · · A.· ·Yes, that's the only one I have.
20· ·too.                                                        20· · · · Q.· ·Are there any communications between you and
21· · · · Q.· ·What did you talk about?                          21· ·Dave when you spoke about cocaine?
22· · · · A.· ·I would have to go back and look at the           22· · · · A.· ·No.
23· ·e-mail.· On the phone I don't remember.                     23· · · · Q.· ·Do you know any of Dave's girlfriends?
24· · · · Q.· ·Do you remember what his mood was like when       24· · · · A.· ·Not personally -- I mean I've heard of them.
25· ·you spoke to him?                                           25· ·I don't personally know them.

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·1· · · · Q.· ·Which ones have you heard of?                      ·1· ·question.
·2· · · · A.· ·One named Kirsten and another named Lynada and     ·2· · · · MR. PASCHAL:· What's the reason for
·3· ·a very old girlfriend named Angela.                          ·3· ·instructing him?
·4· · · · Q.· ·How did you learn about these girlfriends?         ·4· · · · MR. FREEDMAN:· Don't see how it has anything
·5· · · · A.· ·Angela we knew -- he was like dating her in        ·5· ·to do with your topics.
·6· ·high school.· Kirsten I believe I met once at my             ·6· · · · MR. PASCHAL:· Just asking --
·7· ·parent's wedding anniversary and Lynada I only found out     ·7· · · · MR. FREEDMAN:· His state of mind when he found
·8· ·after he passed away.                                        ·8· ·out whether or not Dave Kleiman appointed him as
·9· · · · Q.· ·Have you been in contact with any of these         ·9· ·the personal representative.· Where is that any of
10· ·three girlfriends?                                           10· ·your topics?
11· · · · A.· ·I think I spoke with Angela a little bit.          11· · · · MR. PASCHAL:· I am going to say for the record
12· · · · Q.· ·You didn't speak to Lynada?                        12· ·that these topics are helpful but the judge mandate
13· · · · A.· ·No.                                                13· ·was really that hey, I want to have a depo so you
14· · · · Q.· ·Who was the last girlfriend that you know that     14· ·can figure out what discovery is and a number of
15· ·Dave had?                                                    15· ·times you shut down inquiries because you just
16· · · · A.· ·That would be Lynada.                              16· ·don't think that these match the topic which isn't
17· · · · Q.· ·You haven't spoken to her?                         17· ·helpful for us to.· It will force us to have to go
18· · · · A.· ·No.                                                18· ·to the Court unnecessarily and bring Ira back here
19· · · · Q.· ·When did you speak with Angela?                    19· ·for another deposition to do that.· Purpose to find
20· · · · A.· ·Maybe like a year ago.                             20· ·out where documents are and find out where evidence
21· · · · Q.· ·What circumstances did you speak with her,         21· ·is.· I just don't think it's helpful for the record
22· ·what were the circumstances?                                 22· ·for you to instruct him not to answer background
23· · · · A.· ·I think I saw her -- she left like a Facebook      23· ·questions, very basic questions.
24· ·posting on my dad's web site -- I mean my dad's Facebook     24· · · · MR. FREEDMAN:· Just so the record is complete
25· ·page and then I responded to her Facebook posting.           25· ·the parties set the tone that we had to stay
                                                        Page 27                                                          Page 29
·1· · · · Q.· ·So there's a Facebook message where you            ·1· · · · strictly by the disclosed topics at Dr. Wright's
·2· ·responded to her?                                            ·2· · · · deposition where we were held strictly to the
·3· · · · A.· ·Yes, I think so.· No, I just e-mailed her.         ·3· · · · topics --
·4· ·She left a Facebook posting and then I e-mailed her.         ·4· · · · · · ·MR. PASCHAL:· And I don't believe you did
·5· · · · Q.· ·When did you e-mail her?                           ·5· · · · so --
·6· · · · A.· ·I think it could have been like a year, year       ·6· · · · · · ·MR. FREEDMAN:· If it's the defendant's
·7· ·and a half ago.                                              ·7· · · · position that refusing to answer background
·8· · · · Q.· ·What did the Facebook posting say, do you          ·8· · · · questions should necessitate a second deposition we
·9· ·remember?                                                    ·9· · · · might just able to agree to reach a second
10· · · · A.· ·No.                                                10· · · · deposition.· Do you want to agree to a second
11· · · · Q.· ·What did you discuss with Angela?                  11· · · · deposition?
12· · · · A.· ·We talked about David a little bit.                12· · · · · · ·MR. PASCHAL:· I'm just moving on with you.
13· · · · Q.· ·What did you talk to her about, talking about      13· · · · Just --
14· ·David?                                                       14· · · · · · ·MR. FREEDMAN:· Okay.
15· · · · A.· ·At first just general things I think.              15· · · · · · ·MR. PASCHAL:· I want to ask you about what
16· · · · Q.· ·We'll get into that a little later.· When did      16· · · · you're alleging in the complaint so we know what
17· ·you learn that Dave was appointed as the representative      17· · · · documents we're looking for.· I'm going to give you
18· ·of -- or that Dave appointed you as the representative       18· · · · a copy of the complaint.
19· ·of his estate, sorry?                                        19· · · · · · ·(Defendant's Exhibit No. 2 was
20· · · · A.· ·After he passed away.                              20· · · · · · ·marked for identification.)
21· · · · Q.· ·So Dave never discussed that with you before       21· ·BY MR. PASCHAL:
22· ·he passed away?                                              22· · · · Q.· ·Can you turn to page 37.· Under Count I you
23· · · · A.· ·No.                                                23· ·have a claim for conversion.· Do you see that?
24· · · · Q.· ·Were you surprised to learn --                     24· · · · A.· ·Yes.
25· · · · · · ·MR. FREEDMAN:· Objection, don't answer the         25· · · · Q.· ·If you go down to paragraph 171 you allege

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·1· ·that Dr. Wright converted to his own use, Bitcoins,         ·1· · · · A.· ·No.
·2· ·forked assets and intellectual properties that were the     ·2· · · · Q.· ·After Dave died did you go through his
·3· ·property of, and owned by, the estate and/or W&K.· Do       ·3· ·possessions?
·4· ·you see that?                                               ·4· · · · A.· ·Yes.
·5· · · · A.· ·Yes.                                              ·5· · · · · · ·MR. FREEDMAN:· Objection.
·6· · · · Q.· ·If you can turn to 46 and 47.                     ·6· ·BY MR. PASCHAL:
·7· · · · · · ·MR. FREEDMAN:· Bryan, I think you just asked      ·7· · · · Q.· ·Did you find any mention of a substantial
·8· · · · the witness to turn to two pages.· Which one?          ·8· ·amount of -- any evidence to suggest there was a
·9· · · · · · ·MR. PASCHAL:· I said page 46 and 47.              ·9· ·substantial amount of Bitcoin?
10· · · · · · ·MR. FREEDMAN:· Which one do you want him to       10· · · · A.· ·No.
11· · · · start at?                                              11· · · · Q.· ·Do you have any documents where Dave tells you
12· ·BY MR. PASCHAL:                                             12· ·about W&K and Info Defense Fund Research, LLC?
13· · · · Q.· ·Start at 46.· It's Count X, 46 and 47.· You       13· · · · A.· ·No.
14· ·have a claim for civil theft, you see that?                 14· · · · Q.· ·After Dave died did you find any documents at
15· · · · A.· ·Yes.                                              15· ·his house regarding W&K?
16· · · · Q.· ·In that claim you allege that Dr. Wright took     16· · · · A.· ·No.
17· ·with felonious criminal intent Bitcoins, forked assets      17· · · · Q.· ·When you became the personal representative
18· ·and intellectual properties that were the property of       18· ·for Dave's estate did you look on SunBiz.org?· Are you
19· ·and owned by the estate and/or W&K.· You see that?          19· ·familiar with that web site?
20· · · · A.· ·Yes.                                              20· · · · A.· ·Yes.
21· · · · Q.· ·Ira, is it your position that Dr. Wright stole    21· · · · Q.· ·Did you look on SunBiz.org to see if he owned
22· ·from Dave?                                                  22· ·any companies?
23· · · · · · ·MR. FREEDMAN:· Hold on a second.· Go ahead        23· · · · A.· ·I was only aware of Computer Forensics
24· · · · answer the question.                                   24· ·Company.
25· · · · · · ·THE WITNESS:· I believe so.                       25· · · · Q.· ·But just my question was did you go on
                                                       Page 31                                                          Page 33
·1· ·BY MR. PASCHAL:                                             ·1· ·SunBiz.org to search to see if he owned any companies?
·2· · · · Q.· ·You believe so?                                   ·2· · · · A.· ·I don't think so.
·3· · · · A.· ·Yes.                                              ·3· · · · Q.· ·Did you first learn of W&K from Dr. Wright?
·4· · · · Q.· ·I want you to turn to page 16 of your             ·4· · · · A.· ·Yes.
·5· ·complaint.· There you have a bold heading saying -- are     ·5· · · · Q.· ·Ira, you're aware that Dave was receiving debt
·6· ·you there?                                                  ·6· ·collection calls in mid 2012?
·7· · · · A.· ·Yes.                                              ·7· · · · A.· ·2012, I was not aware of it.
·8· · · · Q.· ·You have a bold heading saying Dave and/or W&K    ·8· · · · Q.· ·Do you have documents reflecting Dave's debt?
·9· ·owned a substantial amount of Bitcoin.· You see that?       ·9· · · · A.· ·The autopsy report.
10· · · · A.· ·Yes.                                              10· · · · Q.· ·Sorry.· Do you have documents reflecting
11· · · · Q.· ·Ira, do you have any e-mails from Dave where      11· ·Dave's debt?
12· ·he told you he had a substantial amount of Bitcoin?         12· · · · A.· ·Oh, debt.· Sorry.
13· · · · A.· ·No.                                               13· · · · Q.· ·My mistake, sorry.
14· · · · Q.· ·Do you have any text messages from Dave where     14· · · · A.· ·I don't think so.
15· ·he said that he had a substantial amount of Bitcoin?        15· · · · Q.· ·Do you know how much debt Dave had when he
16· · · · A.· ·No.                                               16· ·died?
17· · · · Q.· ·Do you have any handwritten letters where Dave    17· · · · A.· ·I remember getting some kind of paperwork. I
18· ·says to you I have a substantial amount of Bitcoin?         18· ·may have handed it over to my estate attorney so he
19· · · · A.· ·No.                                               19· ·might have the actual number but I don't remember.
20· · · · Q.· ·Did he put that in his personal will -- let me    20· · · · Q.· ·Is that attorney Joseph Karp?
21· ·say it differently.· Did Dave put in his will that he       21· · · · A.· ·Yes.
22· ·has a substantial amount of Bitcoin?                        22· · · · Q.· ·Do you remember what that document was?
23· · · · A.· ·No.                                               23· · · · A.· ·No.· I didn't really look at it.
24· · · · Q.· ·Are there any documents from Dave to you          24· · · · Q.· ·Do you have any bank account statements for
25· ·stating that he has a substantial amount of Bitcoin?        25· ·Dave?

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·1· · · · A.· ·Bank account statement, I don't think so.         ·1· · · · Q.· ·Yes.· Are you aware that Dave stopped making
·2· · · · Q.· ·What efforts did you take to locate any bank      ·2· ·payments on his house October 1st 2012?
·3· ·accounts?· Did you take any efforts?                        ·3· · · · A.· ·I wasn't aware.
·4· · · · A.· ·I believe so.                                     ·4· · · · Q.· ·So Dave never told you that?
·5· · · · Q.· ·What did you do?                                  ·5· · · · A.· ·No.
·6· · · · A.· ·I think I contacted Joe Karp about that.          ·6· · · · Q.· ·When was the first time that you learned this?
·7· · · · Q.· ·Sorry, what did you say?                          ·7· · · · A.· ·I think after he passed away.
·8· · · · A.· ·I think I contacted Joe Karp about that. I        ·8· · · · Q.· ·Ira, did you speak to Dave while he was in the
·9· ·think he looked into it to see if Dave had any -- what      ·9· ·V.A. Hospital?
10· ·bank accounts.                                              10· · · · A.· ·I think couple times, yes.
11· · · · Q.· ·Was Joe Karp was he your attorney at that         11· · · · Q.· ·About how many?
12· ·time?                                                       12· · · · A.· ·Don't remember.
13· · · · A.· ·Yes.                                              13· · · · Q.· ·You say less than ten?
14· · · · Q.· ·So we went over documents regarding the           14· · · · A.· ·Maybe.
15· ·substantial Bitcoin.· Have you spoken to any witnesses      15· · · · Q.· ·Did you visit him while he was in the V.A.?
16· ·that told you that Dave had a substantial amount of         16· · · · A.· ·No.
17· ·Bitcoin?                                                    17· · · · Q.· ·Did you exchange e-mails with him while he was
18· · · · · · ·MR. FREEDMAN:· Objection to form.                 18· ·in the V.A.?
19· · · · · · ·THE WITNESS:· No.                                 19· · · · A.· ·Yes.
20· ·BY MR. PASCHAL:                                             20· · · · Q.· ·How many e-mails did you exchange roughly?
21· · · · Q.· ·So just to clarify then.· There are no            21· · · · A.· ·I would have to go look.· Couldn't tell you
22· ·witnesses -- no testimony that says that Dave has a         22· ·off the top of my head.
23· ·substantial amount of Bitcoin that you have?                23· · · · Q.· ·What e-mail account did you use to e-mail him,
24· · · · · · ·MR. FREEDMAN:· Objection.                         24· ·do you remember?
25· · · · · · ·THE WITNESS:· Not that I'm aware of.              25· · · · A.· ·Mostly Dex561@Yahoo.com.
                                                       Page 35                                                          Page 37
·1· · · · · · ·MR. PASCHAL:· Ira, I'm showing you a complaint    ·1· · · · Q.· ·What e-mail did you send to Dave -- I mean not
·2· · · · that was filed against Dave by Wells Fargo Bank.       ·2· ·e-mail but what e-mail address was -- for Dave would you
·3· · · · · · ·(Defendant's Exhibit No. 3 was                    ·3· ·send it to?
·4· · · · · · ·marked for identification.)                       ·4· · · · A.· ·Are you talking about that period of time when
·5· · · · · · ·MR. FREEDMAN:· Do you have a copy for us?         ·5· ·he was in the V.A.?
·6· · · · · · ·MR. PASCHAL:· (Indicating).                       ·6· · · · Q.· ·When you sent those e-mails in the V.A.
·7· ·BY MR. PASCHAL:                                             ·7· · · · A.· ·I think at that time he was probably using
·8· · · · Q.· ·Can you go to page two of that complaint.· If     ·8· ·Dave@DavidKleiman.com.
·9· ·you look at paragraph five Wells Fargo alleges that         ·9· · · · Q.· ·Do you remember what you talked about with
10· ·there's been a default under the note and mortgage held     10· ·Dave?
11· ·by plaintiff and that payment due October 1, 2012 and       11· · · · A.· ·No.· I would have to go back and look.
12· ·all subsequent payments have not been made?                 12· · · · · · ·MR. FREEDMAN:· Are you done with this?
13· · · · · · ·MR. FREEDMAN:· Bryan, where are you?              13· · · · · · ·MR. PASCHAL:· Yes.
14· · · · · · ·MR. PASCHAL:· Page two, paragraph five.           14· · · · · · ·MR. FREEDMAN:· Don't want to lose them.
15· · · · · · ·MR. FREEDMAN:· Page two, paragraph five I         15· · · · · · ·MR. PASCHAL:· May want to keep them close
16· · · · don't see that.                                        16· · · · because I may go back.
17· · · · · · ·MR. PASCHAL:· Not page numbered.· Just turn to    17· · · · · · ·MR. FREEDMAN:· Just keep them right here.
18· · · · the next page.                                         18· ·BY MR. PASCHAL:
19· · · · · · ·MR. FREEDMAN:· There is a number on the bottom    19· · · · Q.· ·Did Dave ever ask you for money in 2012?
20· · · · page.                                                  20· · · · A.· ·I don't think so.
21· · · · · · ·THE WITNESS:· Five up top.                        21· · · · Q.· ·Do you know if anyone made any personal loans
22· · · · · · ·MR. PASCHAL:· Yes, paragraph five.                22· ·to Dave?
23· ·BY MR. PASCHAL:                                             23· · · · A.· ·I remember his friend Patrick mentioning that
24· · · · Q.· ·Do you see that?                                  24· ·he may have loaned Dave money like once in a while but
25· · · · A.· ·Where it says there's been a default?             25· ·as far as like an amount I don't know.


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IRA KLEIMAN on 04/08/2019                                                                                         Pages 38..41
                                                       Page 38                                                          Page 40
·1· · · · Q.· ·Do you have any documents related to those        ·1· · · · Q.· ·Have you done any research on Liberty Reserve?
·2· ·loans or no?                                                ·2· · · · A.· ·I looked it up to see what it was.
·3· · · · A.· ·No.                                               ·3· · · · Q.· ·What did you learn?
·4· · · · Q.· ·Did Dave ever tell you he needed help paying      ·4· · · · A.· ·It was some kind of like money exchange
·5· ·V.A. bills?                                                 ·5· ·business.
·6· · · · A.· ·Paying V.A. bills, no.                            ·6· · · · · · ·MR. PASCHAL:· Can you mark that as the next
·7· · · · Q.· ·So you -- did you ever help him pay any V.A.      ·7· · · · exhibit?
·8· ·bills?                                                      ·8· · · · · · ·(Defendant's Exhibit No. 5 was
·9· · · · A.· ·No.                                               ·9· · · · · · ·marked for identification.)
10· · · · · · ·MR. PASCHAL:· Mark this as Exhibit 4.             10· ·BY MR. PASCHAL:
11· · · · · · ·(Defendant's Exhibit No. 4 was                    11· · · · Q.· ·Showing you the unsealed indictment for the
12· · · · · · ·marked for identification.)                       12· ·United States Government versus Liberty Reserve.· Can
13· ·BY MR. PASCHAL:                                             13· ·you turn to page -- paragraph 20 and that's going to be
14· · · · Q.· ·Showing you an e-mail from Dave to Dr. Wright     14· ·on page nine?· If you look at the second sentence there
15· ·dated October 11, 2012.· In that e-mail Dave says to        15· ·it starts "with the merchants who accepted."· Do you see
16· ·Dr. Wright, "Craig, if you don't mind please do transfer    16· ·that?
17· ·in USD from Liberty.· If you can handle it that way I       17· · · · A.· ·Did you say the second sentence?
18· ·would be grateful.· I have been in the V.A. again.          18· · · · Q.· ·Yes, on paragraph 20 "the merchants who
19· ·Nothing to worry about more of a routine as we have to      19· ·accepted."· You can read the whole paragraph but I'm
20· ·live with.· But I am not sure when I'll be able to get      20· ·starting with "the merchants who accepted."
21· ·back home for enough time to manage all the exchanges.      21· · · · A.· ·"To further enable to use of Liberty Reserve"
22· ·The cost of the hospital also comes as the reason for       22· ·on 20.
23· ·this request.· Nothing I need help on but the funds in      23· · · · Q.· ·I'll just read the whole thing.· "To further
24· ·USD will make my life easier right now."· Have you seen     24· ·enable the use of Liberty Reserve for criminal activity,
25· ·this e-mail before?                                         25· ·its website offered shopping cart interface that
                                                       Page 39                                                          Page 41
·1· · · · · · ·MR. FREEDMAN:· Objection.· Go ahead.              ·1· ·merchant web sites could use to access LR, which means
·2· · · · · · ·THE WITNESS:· I recently saw it in one of the     ·2· ·Liberty Reserve, currency as a form of payment.· The
·3· · · · produced documents that Craig turned over, yes.        ·3· ·merchants who accepted LR, being Liberty Reserve,
·4· · · · But I have never seen it before.                       ·4· ·currency was overwhelmingly criminal in nature.· They
·5· ·BY MR. PASCHAL:                                             ·5· ·included, for example traffickers of stolen credit card
·6· · · · Q.· ·In this case?                                     ·6· ·data and personal identity information, peddlers of
·7· · · · A.· ·Yes, in this case.                                ·7· ·various types of online Ponzi and get-rich-quick
·8· · · · Q.· ·Do you know if Dr. Wright helped Dave with his    ·8· ·schemes, computer hackers for hire, unregulated gambling
·9· ·V.A. bills?                                                 ·9· ·enterprises and underground drug dealing web sites."
10· · · · A.· ·No.                                               10· · · · · · ·MR. FREEDMAN:· Objection.
11· · · · Q.· ·Ira, do you have any communications or            11· ·BY MR. PASCHAL:
12· ·documents or anything from Dave to Dr. Wright accusing      12· · · · Q.· ·Aside from any documents we produced to you do
13· ·him of theft?                                               13· ·you have any documents showing that Dave was involved in
14· · · · A.· ·No.                                               14· ·developing software for gambling activities?
15· · · · Q.· ·Do you still have the October -- going back to    15· · · · A.· ·No.
16· ·the October 11th e-mail do you have any documents -- do     16· · · · Q.· ·Do you have any knowledge of that?
17· ·you have any documents showing that Dave had a foreign      17· · · · A.· ·No.· Knowledge of him creating gambling type
18· ·account with the bank called Liberty Reserve?               18· ·software, no.
19· · · · A.· ·No.                                               19· · · · Q.· ·Have you heard that he was doing that before
20· · · · Q.· ·Did you know that Liberty Reserve was seized      20· ·today?
21· ·by the United States Government?                            21· · · · A.· ·I heard of Craig mentioned that he was
22· · · · A.· ·I remember hearing that from Craig.               22· ·involved in that type of stuff but -- and I think he
23· · · · Q.· ·When did you hear that from Craig?                23· ·mentioned that Dave may have assisted him in some
24· · · · A.· ·In one of the e-mails that he sent me. I          24· ·capacity but I don't have any evidence of Dave ever
25· ·don't remember when it was.                                 25· ·doing that type of stuff.


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IRA KLEIMAN on 04/08/2019                                                                                         Pages 42..45
                                                       Page 42                                                          Page 44
·1· · · · Q.· ·Did you learn from any third parties that --      ·1· ·communications with Dave in 2009 regarding the digital
·2· ·aside from Craig that Dave may have been involved in        ·2· ·money that he said would be bigger than Facebook?
·3· ·online gambling activities?                                 ·3· · · · A.· ·No.
·4· · · · A.· ·I don't believe so, no.                           ·4· · · · Q.· ·Do you have any communications with Dave in
·5· · · · Q.· ·Is that your testimony today?                     ·5· ·2010 regarding the digital money that Dave said would be
·6· · · · A.· ·Yes.                                              ·6· ·bigger than Facebook?
·7· · · · Q.· ·One second --                                     ·7· · · · A.· ·No.
·8· · · · A.· ·I think the ATO may have mentioned something      ·8· · · · Q.· ·Do you have any communications with Dave in
·9· ·about Liberty Reserve but I don't know if they were         ·9· ·2011 regarding the digital money that Dave said would be
10· ·specifically saying that Dave was involved or not but       10· ·bigger than Facebook?
11· ·yes, I think I did get a document from ATO.                 11· · · · A.· ·No.
12· · · · Q.· ·Let me ask you this.· Did you ever exchange an    12· · · · Q.· ·Do you have any communications with Dave in
13· ·e-mail with Patrick Paige where you mentioned you were      13· ·2012 regarding the digital money that Dave said would be
14· ·surprised to find out that Dave was --                      14· ·bigger than Facebook?
15· · · · A.· ·Yes.                                              15· · · · A.· ·No.
16· · · · Q.· ·Let me finish that question.· E-mail with         16· · · · Q.· ·Do you have any communications with Dave up
17· ·Patrick Paige where you said you were surprised to learn    17· ·until April 2013 regarding the digital money that Dave
18· ·that Dave was involved with gambling activities?            18· ·said would be bigger than Facebook?
19· · · · A.· ·Yes.                                              19· · · · A.· ·No.
20· · · · · · ·MR. FREEDMAN:· You have to wait until he          20· · · · Q.· ·After Dave died I understand that you formated
21· · · · finishes the question and then answer so that he       21· ·some of Dave's hard drives and threw out a bunch of his
22· · · · has a clean record.                                    22· ·work papers; is that correct?
23· ·BY MR. PASCHAL:                                             23· · · · · · ·MR. FREEDMAN:· Objection.
24· · · · Q.· ·Have you made any efforts to find the Liberty     24· · · · · · ·THE WITNESS:· I did discard some papers and
25· ·Reserve account that Dave had?                              25· · · · hard drives I first examined to see if there was
                                                       Page 43                                                          Page 45
·1· · · · A.· ·No.                                               ·1· · · · anything on them and once I found out that there
·2· · · · Q.· ·Have you spoken to the Southern District of       ·2· · · · wasn't I believe there were two hard drives that I
·3· ·New York about Liberty Reserve?                             ·3· · · · formated.
·4· · · · A.· ·No.                                               ·4· ·BY MR. PASCHAL:
·5· · · · Q.· ·Have you spoken to the FBI agents that were       ·5· · · · Q.· ·Before you formated and before you threw those
·6· ·investigating Liberty Reserve?                              ·6· ·papers away did you find any evidence of the digital
·7· · · · A.· ·No.                                               ·7· ·currency that Dave said would be bigger than Facebook?
·8· · · · Q.· ·So you mentioned the Thanksgiving dinner          ·8· · · · A.· ·No.
·9· ·earlier and you allege in your complaint so let's talk      ·9· · · · · · ·MR. PASCHAL:· I want to show you an e-mail
10· ·about that.· The 2009 Thanksgiving dinner.· Who was at      10· · · · exchange that you had with Dr. Wright.
11· ·that dinner?                                                11· · · · · · ·(Defendant's Exhibit No. 6 was
12· · · · A.· ·Myself, my wife, my six month old daughter,       12· · · · · · ·marked for identification.)
13· ·Dave and my father.                                         13· ·BY MR. PASCHAL:
14· · · · Q.· ·Now, in your complaint I don't know if you        14· · · · Q.· ·So if you look at the bottom of page one and
15· ·want a copy but you say at paragraph 61 that Dave told      15· ·you sent this e-mail -- do you remember this e-mail?· Go
16· ·you that he was working on something bigger than            16· ·ahead and read it.
17· ·Facebook by creating his own digital money.· Do you         17· · · · · · ·MR. FREEDMAN:· What exhibit number is this?
18· ·remember that?                                              18· · · · · · ·MR. PASCHAL:· I think it's 6.
19· · · · A.· ·Yes.                                              19· · · · · · ·THE WITNESS:· Yes, I remember.
20· · · · Q.· ·Do you have any pictures from that day?           20· ·BY MR. PASCHAL:
21· · · · A.· ·Yes.                                              21· · · · Q.· ·You remember this e-mail?
22· · · · Q.· ·Do you know if they were produced in              22· · · · A.· ·Yes.
23· ·discovery?                                                  23· · · · Q.· ·At the bottom you'll say "hi Craig, I would
24· · · · A.· ·I'm not sure.                                     24· ·like to ask for your advice if I may.· After everything
25· · · · Q.· ·After the Thanksgiving dinner did you have any    25· ·you have shared with me I feel like I can completely

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IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
IRA KLEIMAN on 04/08/2019                                                                                         Pages 46..49
                                                       Page 46                                                          Page 48
·1· ·trust you.· As mysterious and exciting as all this news     ·1· · · · Q.· ·Did you keep any of the documents that he had,
·2· ·is I also feel nervous about making mistakes.· I very       ·2· ·any of his work papers?
·3· ·well could have already made some mistakes months ago by    ·3· · · · A.· ·I couldn't really find any like work papers.
·4· ·throwing away of bunch of Dave's papers and formating       ·4· ·I only found things like related to the certificates
·5· ·drives that I could not access."· Do you remember that      ·5· ·that he earned like security related certificates.
·6· ·statement?                                                  ·6· · · · Q.· ·You threw away his certificates?
·7· · · · · · ·MR. FREEDMAN:· Objection.                         ·7· · · · A.· ·No, I'm saying I kept --
·8· · · · · · ·THE WITNESS:· Yes.                                ·8· · · · Q.· ·You kept those?
·9· · · · · · ·MR. FREEDMAN:· Wait one second let me object      ·9· · · · A.· ·Right.
10· · · · and then go ahead and answer the question.             10· · · · Q.· ·When you say the working papers you threw away
11· ·BY MR. PASCHAL:                                             11· ·what are you referring to?
12· · · · Q.· ·Do you remember that statement?                   12· · · · A.· ·Actually I'm not even sure they were work
13· · · · A.· ·Yes.                                              13· ·papers.· I guess they looked like things that didn't
14· · · · Q.· ·I just want to go over this e-mail.· First you    14· ·look relevant to keeping.
15· ·say that you may have made some mistakes some months        15· · · · Q.· ·Did you read all the papers before you threw
16· ·ago.· When you say "some months ago" what timeframe are     16· ·them away?
17· ·you talking about, how many months ago?                     17· · · · A.· ·Briefly.
18· · · · A.· ·Sometime in 2013.                                 18· · · · Q.· ·So I guess none of it seemed important?
19· · · · Q.· ·Was it before Thanksgiving, after                 19· · · · A.· ·Exactly.
20· ·Thanksgiving?                                               20· · · · Q.· ·Let me ask you.· If any of those documents had
21· · · · · · ·MR. FREEDMAN:· Objection.                         21· ·a random set of numbers and letters and just random
22· · · · · · ·THE WITNESS:· You're talking about 2013?          22· ·gibberish you would haven't considered that important,
23· ·BY MR. PASCHAL:                                             23· ·would you?
24· · · · Q.· ·Yes, November 2013 Thanksgiving.                  24· · · · · · ·MR. FREEDMAN:· Objection.
25· · · · A.· ·It could have been before that.                   25· · · · · · ·THE WITNESS:· I don't know.· I don't know.
                                                       Page 47                                                          Page 49
·1· · · · Q.· ·Our analysis shows that two drives were           ·1· ·BY MR. PASCHAL:
·2· ·formated and installed with Windows on November 10, 2013    ·2· · · · Q.· ·So what did you do to determine whether or not
·3· ·would that date be about right?                             ·3· ·something was important?
·4· · · · A.· ·Possibly, yes.                                    ·4· · · · A.· ·Just whatever I looked at -- I don't know
·5· · · · Q.· ·Did you purchase the Windows software             ·5· ·specifically.· I mean like I was just going through
·6· ·installed on those drives?                                  ·6· ·papers quickly and if something looked like it was
·7· · · · A.· ·I don't remember.                                 ·7· ·connected to him I would keep it.
·8· · · · Q.· ·You don't remember?                               ·8· · · · Q.· ·Say the last part again, I couldn't hear you.
·9· · · · A.· ·(Indicating).                                     ·9· · · · A.· ·If something looked like it was connected to
10· · · · Q.· ·Would any -- do you have any documents like       10· ·him I would keep it.· Like certificates, things he
11· ·credit card receipts showing you purchased the Windows      11· ·earned, anything personal.
12· ·software?                                                   12· · · · Q.· ·So --
13· · · · A.· ·I don't know.                                     13· · · · A.· ·Like a lot of stuff I threw out could have
14· · · · Q.· ·You don't know?                                   14· ·just been like junk mail.· That was unimportant I didn't
15· · · · A.· ·Could have been a version of Windows that my      15· ·need to keep it.
16· ·brother had.                                                16· · · · Q.· ·How would you consider something junk mail?
17· · · · Q.· ·You also say that you threw out a bunch of        17· · · · A.· ·Like advertisement type stuff.
18· ·Dave's work papers.· How much is a bunch?                   18· · · · Q.· ·Let me just -- when you were formating or when
19· · · · A.· ·Just when I was cleaning out his house. I         19· ·you threw out the papers were you already the personal
20· ·don't remember exactly how many.                            20· ·representative of the estate?· Let me rephrase that.· Do
21· · · · Q.· ·When you threw these papers out was it the        21· ·you know -- do you know that you were the personal
22· ·same day November 10th 2013 or November of 2013?            22· ·representative of the estate when you --
23· · · · A.· ·No.· This was like shortly after he passed        23· · · · A.· ·I'm not sure if I knew at that time.
24· ·away when I was going through his house, going through      24· · · · Q.· ·Okay.
25· ·his stuff.                                                  25· · · · · · ·MR. FREEDMAN:· We've been going an hour.· Can

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IRA KLEIMAN on 04/08/2019                                                                                        Pages 50..53
                                                      Page 50                                                          Page 52
·1· · · · we take a break?                                      ·1· · · · Q.· ·So if you go back to that e-mail in front of
·2· · · · · · ·MR. PASCHAL:· Can we --                          ·2· ·you you say that you were concerned that you made a
·3· · · · · · ·MR. FREEDMAN:· If you have more questions go     ·3· ·mistake?
·4· · · · ahead.                                                ·4· · · · A.· ·Yes.
·5· · · · · · ·MR. PASCHAL:· Few more questions and then we     ·5· · · · Q.· ·How were you concerned?
·6· · · · can take a break.                                     ·6· · · · · · ·MR. FREEDMAN:· You said how or what?
·7· ·BY MR. PASCHAL:                                            ·7· ·BY MR. PASCHAL:
·8· · · · Q.· ·So you said if it was connected to Dave you      ·8· · · · Q.· ·Why?· Why were you concerned?
·9· ·would keep it.· So if something I'm just trying to         ·9· · · · A.· ·What's that?
10· ·figure out what the measurement that was.· If there was    10· · · · Q.· ·Why were you concerned?
11· ·scribbling on papers would you just throw that away?       11· · · · A.· ·Because I had just discarded some of his
12· · · · · · ·MR. FREEDMAN:· Objection.                        12· ·stuff.
13· · · · · · ·THE WITNESS:· I don't know.· Possibly.           13· · · · Q.· ·But you said the stuff you discarded was junk
14· ·BY MR. PASCHAL:                                            14· ·mail?
15· · · · Q.· ·When did you become familiar with Bitcoin?       15· · · · A.· ·Right.· And I was using his drives.
16· · · · · · ·MR. FREEDMAN:· Do you think maybe we can take    16· · · · Q.· ·So you were concerned because you were using
17· · · · a break here?· Sounds like you're going to a          17· ·his drives, not because you threw out his work papers?
18· · · · different topic.                                      18· · · · A.· ·No.· I was concerned about a little of
19· · · · · · ·MR. PASCHAL:· Let's take a break.                19· ·everything.
20· · · · · · ·THE VIDEOGRAPHER:· The time is 11:03 a.m. and    20· · · · Q.· ·But sitting here today you can't tell us the
21· · · · we're off the record.                                 21· ·content of the papers that you threw out?
22· · · · · · ·(Thereupon, a brief recess was taken.)           22· · · · · · ·MR. FREEDMAN:· Objection.
23· · · · · · ·THE VIDEOGRAPHER:· The time is now 11:17 a.m.    23· · · · · · ·THE WITNESS:· No.
24· · · · and we're back on the record.                         24· ·BY MR. PASCHAL:
25                                                              25· · · · Q.· ·But you were concerned that you were throwing
                                                      Page 51                                                          Page 53
·1· ·BY MR. PASCHAL:                                            ·1· ·them out and formated certain drives?
·2· · · · Q.· ·Sorry.· Just briefly before we left off and      ·2· · · · · · ·MR. FREEDMAN:· Objection.
·3· ·earlier today.· I have some follow-up questions.· Did      ·3· · · · · · ·THE WITNESS:· Well, the drives that I formated
·4· ·Dave live in Palm Beach Gardens?                           ·4· · · · there was nothing on them.
·5· · · · A.· ·It might be officially called like Riviera       ·5· ·BY MR. PASCHAL:
·6· ·Beach.                                                     ·6· · · · Q.· ·We're going to talk about that more but you
·7· · · · Q.· ·It's in the area, right?                         ·7· ·said you were concerned because you were using the
·8· · · · A.· ·Yes.                                             ·8· ·drives; right?
·9· · · · Q.· ·Palm Beach County?                               ·9· · · · A.· ·Yes.· After -- after he passed away yes, I
10· · · · A.· ·Yes.                                             10· ·started using them.
11· · · · Q.· ·Last time you saw Dave was in 2009?              11· · · · Q.· ·And you were concerned you were using them.
12· · · · A.· ·Yes.                                             12· ·Did you continue to use them in 2014?
13· · · · Q.· ·And you guys lived in the same county?           13· · · · A.· ·Yes.
14· · · · A.· ·Yes.                                             14· · · · Q.· ·Did you continue to use them in 2015?
15· · · · Q.· ·About how far apart did you guys live from       15· · · · A.· ·Yes.
16· ·each other?                                                16· · · · Q.· ·Did you continue to use them in 2016?
17· · · · A.· ·Five to ten minutes.                             17· · · · A.· ·Yes.
18· · · · Q.· ·When we left off we were talking about on the    18· · · · Q.· ·Did you continue to use them in 2017?
19· ·e-mail where you formated and you said you formated        19· · · · A.· ·Yes.
20· ·threw out some of Dave's work papers so I think we were    20· · · · Q.· ·Did you continue to use them in 2018?
21· ·talking about the work papers.· Why were you throwing      21· · · · A.· ·I believe so.
22· ·the papers away?                                           22· · · · Q.· ·After you filed the lawsuit you continued to
23· · · · A.· ·Like I said it just looked like it was           23· ·use Dave's devices; right?
24· ·unimportant stuff.· Everyday stuff you get in the mail     24· · · · A.· ·Yes.
25· ·just advertisements, news clipping type and things.        25· · · · Q.· ·When did you stop using Dave's devices?

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IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
IRA KLEIMAN on 04/08/2019                                                                                         Pages 54..57
                                                       Page 54                                                          Page 56
·1· · · · A.· ·I don't remember exactly.                         ·1· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you
·2· · · · Q.· ·Was it maybe like a few months ago, few weeks     ·2· · · · in?
·3· ·ago?                                                        ·3· · · · · · ·MR. PASCHAL:· That goes to the facts alleged
·4· · · · · · ·MR. FREEDMAN:· Objection.                         ·4· · · · in the amended complaint.
·5· · · · · · ·THE WITNESS:· In the range of like around this    ·5· · · · · · ·MR. FREEDMAN:· Which number?
·6· · · · lawsuit but --                                         ·6· · · · · · ·MR. PASCHAL:· That goes to the facts alleged
·7· ·BY MR. PASCHAL:                                             ·7· · · · in the alleged complaint.· Goes to preservation of
·8· · · · Q.· ·Sorry, go ahead.                                  ·8· · · · device, chain of custody.· I think it goes to
·9· · · · A.· ·I was just putting my personal files on them.     ·9· · · · several topics.· You want to go through them all?
10· ·I never touched Dave's stuff.                               10· · · · · · ·MR. FREEDMAN:· Where -- can you show me the
11· · · · Q.· ·Let me break that statement down.· So what        11· · · · number?
12· ·caused you to stop using the devices?                       12· · · · · · ·MR. PASCHAL:· Preservation of devices I think
13· · · · · · ·MR. FREEDMAN:· If you can answer this question    13· · · · that's like the first five.· That's the very
14· · · · without going into conversation you had with your      14· · · · purpose of this deposition.
15· · · · lawyers then answer it.                                15· · · · · · ·MR. FREEDMAN:· I don't think so.· He can
16· · · · · · ·THE WITNESS:· Well, I just didn't want to         16· · · · answer.· I'll allow the question but keeping an eye
17· · · · tamper with anything.                                  17· · · · on you.
18· ·BY MR. PASCHAL:                                             18· · · · · · ·MR. PASCHAL:· Can you read my question back?
19· · · · Q.· ·So you were using them in 2018 you were           19· · · · · · ·(Thereupon, a portion of the record
20· ·tampering with it?                                          20· · · · · · ·was read back by the reporter.)
21· · · · · · ·MR. FREEDMAN:· Objection.                         21· · · · · · ·THE WITNESS:· I don't remember the exact date.
22· · · · · · ·THE WITNESS:· No.· I mean I -- I was just         22· ·BY MR. PASCHAL:
23· · · · using it for my own personal use.                      23· · · · Q.· ·Was it 2016?
24· ·BY MR. PASCHAL:                                             24· · · · A.· ·I don't know.
25· · · · Q.· ·I want to go back two questions ago and you       25· · · · Q.· ·Could it have been after that?
                                                       Page 55                                                          Page 57
·1· ·just said that you stopped using the devices because you    ·1· · · · A.· ·It could have been after that.
·2· ·didn't want to tamper with anything.· So were you           ·2· · · · Q.· ·So I'm going to show you an e-mail that you
·3· ·concerned that you were tampering with anything in 2018?    ·3· ·had with Patrick Paige, March 31st 2016.
·4· · · · A.· ·I was never concerned about tampering with        ·4· · · · · · ·(Defendant's Exhibit No. 7 was
·5· ·anything of Dave's.· I was concerned about tampering        ·5· · · · · · ·marked for identification.)
·6· ·with my own personal things like -- like through the        ·6· ·BY MR. PASCHAL:
·7· ·lawsuit you might view that I was somehow like deleting     ·7· · · · Q.· ·If you turn to the second page and you can
·8· ·my own stuff or something that might be a bad thing but     ·8· ·look at what you said before but you say there are a lot
·9· ·I wasn't --                                                 ·9· ·of details left out -- you're discussing Craig and
10· · · · Q.· ·Let me say it this way.· Because of the           10· ·things you think about Dr. Wright.· "There are a lot of
11· ·lawsuit you were concerned that it would appear that you    11· ·details left out that I may have to reserve until
12· ·were trying to delete things by using the devices; is       12· ·litigation."· You see that?
13· ·that fair to say?                                           13· · · · A.· ·Yes.
14· · · · · · ·MR. FREEDMAN:· Objection.                         14· · · · Q.· ·So this was March 31st 2016.· So as early at
15· · · · · · ·THE WITNESS:· Can you repeat that?                15· ·least March 31st 2016 you were considering litigation?
16· ·BY MR. PASCHAL:                                             16· · · · · · ·MR. FREEDMAN:· Objection.
17· · · · Q.· ·Yes, was it because of the lawsuit that you       17· · · · · · ·THE WITNESS:· I'm not sure about that.
18· ·stopped using the devices because you were concerned        18· ·BY MR. PASCHAL:
19· ·that it would appear that you were trying to delete         19· · · · Q.· ·So what were you considering to reserve until
20· ·things?                                                     20· ·litigation when you were talking to Patrick Paige?· Who
21· · · · · · ·MR. FREEDMAN:· Objection.                         21· ·were you planning on litigating against?
22· · · · · · ·THE WITNESS:· I guess that's part of it.          22· · · · · · ·MR. FREEDMAN:· Ira, if you need to read the
23· ·BY MR. PASCHAL:                                             23· · · · whole e-mail read the whole e-mail and answer the
24· · · · Q.· ·When do you remember that you first considered    24· · · · question.
25· ·suing or bringing this action against Dr. Wright?           25· · · · · · ·MR. PASCHAL:· Take your time.

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·1· · · · · · ·THE WITNESS:· Yes, I guess --                     ·1· · · · A.· ·Yes.
·2· · · · · · ·MR. FREEDMAN:· Don't guess Ira.· Answer the       ·2· · · · Q.· ·You understand the importance when you're
·3· · · · question if you know it.· Not going to help them if    ·3· ·under oath you have to give complete and truthful
·4· · · · you guess.                                             ·4· ·answers to the best of your ability; correct?
·5· · · · · · ·THE WITNESS:· I may have been considering         ·5· · · · A.· ·Yes.
·6· · · · litigation against him at that time.                   ·6· · · · · · ·MR. PASCHAL:· I'm showing you your responses
·7· ·BY MR. PASCHAL:                                             ·7· · · · to our interrogatories.· This is going to be number
·8· · · · Q.· ·March 31st 2016?                                  ·8· · · · eight?
·9· · · · A.· ·I don't believe I filed anything -- it was        ·9· · · · · · ·MR. FREEDMAN:· 9.
10· ·just --                                                     10· · · · · · ·(Defendant's Exhibit No. 9 was
11· · · · Q.· ·Just asking --                                    11· · · · · · ·marked for identification.)
12· · · · A.· ·I was thinking about it, yes.                     12· · · · · · ·MR. FREEDMAN:· Do you have a copy for us?
13· · · · Q.· ·Are there any documents to reflect an earlier     13· · · · · · ·MR. PASCHAL:· Yes.
14· ·date than that?                                             14· ·BY MR. PASCHAL:
15· · · · A.· ·I don't know.                                     15· · · · Q.· ·If you turn to page six a response to request
16· · · · Q.· ·You don't know?· Sorry, I didn't hear you.        16· ·it should be interrogatory number 20 at the second
17· · · · A.· ·I don't know.                                     17· ·sentence you say "additionally Ira has been employed in
18· · · · · · ·MR. PASCHAL:· Showing you an article that         18· ·web site design and affiliate marketing for the past 22
19· · · · Dr. Wright and your brother wrote.                     19· ·years and uses computers extensively as a part of his
20· · · · · · ·(Defendant's Exhibit No. 8 was                    20· ·work.· During this time Ira became generally familiar
21· · · · · · ·marked for identification.)                       21· ·with how to preserve, overwrite or erase data on
22· ·BY MR. PASCHAL:                                             22· ·electronic devices."· Is that your statement?
23· · · · Q.· ·It's called Overwriting Hard Drive Data: The      23· · · · A.· ·Yes.
24· ·Great Wiping Controversy.· You produced this document to    24· · · · Q.· ·And you swore this under penalty of perjury
25· ·us, do you recall that?                                     25· ·just like you did here today; correct?
                                                       Page 59                                                          Page 61
·1· · · · A.· ·I guess if we produced it we --                   ·1· · · · A.· ·Yes.
·2· · · · Q.· ·Have you read this?                               ·2· · · · Q.· ·So do you know or do you have general
·3· · · · A.· ·No.                                               ·3· ·experience with how to preserve, overwrite or delete
·4· · · · Q.· ·You have what, 20 plus years of experience        ·4· ·data from a hard drive?
·5· ·with computers; right?                                      ·5· · · · A.· ·That's just general every day use.· Just like
·6· · · · A.· ·Just general use, yes.                            ·6· ·an average computer --
·7· · · · Q.· ·You're generally familiar with how to             ·7· · · · Q.· ·With that general knowledge you were in
·8· ·preserve, overwrite or delete data on a hard drive?         ·8· ·possession of overwriting paper that Dave and Dr. Wright
·9· · · · A.· ·I don't have any special training in that. I      ·9· ·wrote from March of 2016 you continued to use Dave's
10· ·just have general computer use.                             10· ·electronic devices for your personal use until well
11· · · · Q.· ·To my question you have general experience        11· ·after -- almost a year after this litigation was filed;
12· ·with how to overwrite, preserve or delete data from a       12· ·is that correct?
13· ·hard drive?                                                 13· · · · · · ·MR. FREEDMAN:· Objection.
14· · · · A.· ·Not preserve.· If you're talking about like       14· · · · · · ·THE WITNESS:· Yes.
15· ·how a forensic specialist might know how to secure data     15· ·BY MR. PASCHAL:
16· ·I don't have any training in that type of thing.· I just    16· · · · Q.· ·So could we go back to the February 2014
17· ·know how to general --                                      17· ·e-mail that you had with Craig?
18· · · · Q.· ·Generally do you know how to preserve,            18· · · · · · ·MR. FREEDMAN:· What exhibit number?
19· ·overwrite and delete data from a hard drive?                19· · · · · · ·MR. PASCHAL:· I wasn't writing them down. I
20· · · · · · ·MR. FREEDMAN:· Objection.                         20· · · · think that might be three.
21· · · · · · ·THE WITNESS:· I just know how to generally        21· · · · · · ·MR. FREEDMAN:· No, three is the verified
22· · · · store data on a hard drive.                            22· · · · complaint.
23· ·BY MR. PASCHAL:                                             23· · · · · · ·MR. PASCHAL:· Four?· Maybe it's five.
24· · · · Q.· ·You understand you're under oath today;           24· · · · · · ·MR. FREEDMAN:· Four is the 11th October 2012
25· ·correct?                                                    25· · · · e-mail.


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                                                       Page 62                                                          Page 64
·1· · · · · · ·MR. PASCHAL:· Yes, that's it, four.               ·1· ·this digital currency, you have two hard drives and you
·2· ·BY MR. PASCHAL:                                             ·2· ·format them; right?
·3· · · · Q.· ·So we talked about the work papers.· Let's        ·3· · · · A.· ·Yes.
·4· ·talk about the formating of the drives.· You said in        ·4· · · · Q.· ·And then you continue to use them for several
·5· ·that e-mail that you couldn't --                            ·5· ·years; right?
·6· · · · · · ·MR. FREEDMAN:· Give me one second to grab it      ·6· · · · A.· ·Yes.
·7· · · · myself.· Okay.· Go ahead.                              ·7· · · · · · ·MR. PASCHAL:· I'm showing you your second
·8· ·BY MR. PASCHAL:                                             ·8· · · · amended responses and objections to our first set
·9· · · · Q.· ·So you said in that e-mail that you formated      ·9· · · · of interrogatories.· This is going to be number
10· ·drives you could not access.· You see that?                 10· · · · ten.
11· · · · A.· ·Yes.                                              11· · · · · · ·(Defendant's Exhibit No. 10 was
12· · · · Q.· ·What did --                                       12· · · · · · ·marked for identification.)
13· · · · · · ·MR. FREEDMAN:· Wait, this is the wrong e-mail.    13· ·BY MR. PASCHAL:
14· · · · This is not that e-mail.· This is from Dave Kleiman    14· · · · Q.· ·Can you look at response number two and that
15· · · · to Craig Wright.· What's the date on it?               15· ·interrogatory two is identify all electronic devices
16· · · · · · ·MR. PASCHAL:· You know what, you can borrow       16· ·that Dave Kleiman owned or possessed at the time of his
17· · · · mine and give it back to me after this question.       17· ·death.· You see that?
18· · · · · · ·MR. FREEDMAN:· He doesn't have it in front of     18· · · · A.· ·Yes.
19· · · · him either.· This is Exhibit 4.                        19· · · · Q.· ·Is this a complete list or is there anything
20· · · · · · ·THE WITNESS:· I know what you're talking          20· ·else that needs to be added to this list?
21· · · · about.                                                 21· · · · A.· ·I believe that's a complete list.
22· · · · · · ·MR. FREEDMAN:· Hold on a second.                  22· · · · Q.· ·So these were all electronic devices that Dave
23· · · · February 14th.· It's Exhibit 6.                        23· ·had?
24· ·BY MR. PASCHAL:                                             24· · · · A.· ·Yes.
25· · · · Q.· ·Ira, you said you know what I'm talking about.    25· · · · Q.· ·Which of these drives did you format?
                                                       Page 63                                                          Page 65
·1· ·So you said that you couldn't -- you formated drives you    ·1· · · · A.· ·I believe it was two of the Seagate Momentus.
·2· ·couldn't access?                                            ·2· · · · Q.· ·So there's the first one, right the Seagate
·3· · · · A.· ·I formated drives that prompted me that they      ·3· ·Momentus 500GB, that one?
·4· ·could only be formated.                                     ·4· · · · A.· ·I think so.
·5· · · · Q.· ·Sorry, say that again.                            ·5· · · · Q.· ·Then it said the amount of data currently
·6· · · · A.· ·When I tried to access the drive the pop up       ·6· ·stored is 17.6 GBs.· You see that?
·7· ·screen appears and it says that the drive needs to be       ·7· · · · A.· ·Yes.
·8· ·formated.· So I take that as the drive's empty and I        ·8· · · · Q.· ·Now, you said that you took the prompt as to
·9· ·could format it.                                            ·9· ·format the drive there was no information on the drives.
10· · · · Q.· ·Let's break that down then.· So before you        10· ·Is this entire 17.6 GBs your personal information?
11· ·formatted the drive did you ask for any professional        11· · · · A.· ·I think that's probably mostly the operating
12· ·help in recovering any data from the drive?                 12· ·system that I installed on it.
13· · · · A.· ·No.                                               13· · · · Q.· ·And then the next Seagate would be the -- I
14· · · · Q.· ·When you say I take that as the drive is empty    14· ·think three down it's a Seagate Momentus 500 GB.· Are
15· ·what are you basing that -- your -- that statement on?      15· ·those the same types of drive, just two of them?
16· · · · A.· ·Just my general computer use.                     16· · · · A.· ·I believe so.
17· · · · Q.· ·Your general -- what I discussed before your      17· · · · Q.· ·The third one that's the other one that you
18· ·general knowledge of preserving, deleting and               18· ·formated?
19· ·overwriting data?                                           19· · · · A.· ·I think so.
20· · · · · · ·MR. FREEDMAN:· Objection.                         20· · · · Q.· ·Did you format the drives so that you could
21· · · · · · ·THE WITNESS:· My general use of hard drives,      21· ·use them personally?
22· · · · computers.                                             22· · · · A.· ·Yes.
23· ·BY MR. PASCHAL:                                             23· · · · Q.· ·Well, now if you've been using them for so
24· · · · Q.· ·So Ira, I mean in 2009 Dave tells you that he     24· ·long why is it saying on the third one the amount of
25· ·is working on something that's bigger than Facebook,        25· ·data currently stored is zero?

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·1· · · · A.· ·I'm not sure the amount of data on that one is    ·1· · · · Q.· ·You weren't able to access them?
·2· ·accurate.· I'm not sure if that one was reported            ·2· · · · A.· ·I think there might be one or two that we
·3· ·accurately.                                                 ·3· ·weren't able to access.
·4· · · · Q.· ·Would that be for the same one -- scratch         ·4· · · · Q.· ·What were those?
·5· ·that.· Strike that.· Would that be the same for the         ·5· · · · A.· ·I think the Hitachi Travelstar.
·6· ·first one where you said 17.6 GB was for the operating      ·6· · · · Q.· ·What was the other one?
·7· ·system alone; is that accurate?                             ·7· · · · A.· ·I don't remember.
·8· · · · A.· ·I believe so.                                     ·8· · · · Q.· ·What did you do to access the Hitachi
·9· · · · Q.· ·You've been using that device for years you       ·9· ·Travelstar 100 GB?
10· ·haven't stored anything on it?                              10· · · · A.· ·I think I just plugged it in.
11· · · · A.· ·I don't think I really used it that much. I       11· · · · Q.· ·You haven't done anything else to it?
12· ·remember installing operating systems on those two          12· · · · A.· ·No.
13· ·drives but I never really used it much.                     13· · · · Q.· ·There's no forensic image of it?
14· · · · Q.· ·So you formated them so you could use them;       14· · · · A.· ·There was like you mean after litigation
15· ·right?                                                      15· ·started?· Not prior to litigation.
16· · · · A.· ·Yes.· I may have not used it for a very           16· · · · Q.· ·There was none.· There was one done after the
17· ·limited amount of time.                                     17· ·litigation?
18· · · · Q.· ·When was that limited amount of time?             18· · · · A.· ·Yes.
19· · · · A.· ·I don't remember.                                 19· · · · Q.· ·When was that done?
20· · · · Q.· ·What are you storing on those devices?            20· · · · A.· ·I don't remember the date.
21· · · · A.· ·I think just the operating systems.· I may        21· · · · Q.· ·Was it this year?
22· ·have also put like maybe some web site design program on    22· · · · A.· ·Yes.
23· ·there.                                                      23· · · · Q.· ·Are you storing any commercial videos on any
24· · · · Q.· ·That's it?                                        24· ·of these devices?
25· · · · A.· ·As far as I can recall.                           25· · · · A.· ·I don't remember.
                                                       Page 67                                                          Page 69
·1· · · · Q.· ·Ira, are you storing any commercial videos on     ·1· · · · Q.· ·Are you storing any commercial music files on
·2· ·those devices?                                              ·2· ·any of these devices?
·3· · · · A.· ·Commercial videos?· I don't know.                 ·3· · · · A.· ·I would have to look at them.· I don't know.
·4· · · · Q.· ·Are you storing any commercial music files on     ·4· · · · Q.· ·You didn't look at them before today?
·5· ·those devices?                                              ·5· · · · A.· ·Yes, I've looked at them before today but I
·6· · · · · · ·MR. FREEDMAN:· Objection.                         ·6· ·don't remember it exactly what was on them.
·7· · · · · · ·THE WITNESS:· I would have to look at that, I     ·7· · · · Q.· ·Do you remember storing any pictures of your
·8· · · · don't know.                                            ·8· ·family on any of those devices?
·9· ·BY MR. PASCHAL:                                             ·9· · · · A.· ·I think -- yes, I think I put some photos. I
10· · · · Q.· ·Are you storing any personal photos of your       10· ·mean I would imagine that some of these drives have
11· ·family on those devices?                                    11· ·photos.
12· · · · · · ·MR. FREEDMAN:· Objection.                         12· · · · Q.· ·Which drives have photos?
13· · · · · · ·THE WITNESS:· Are you talking about just the      13· · · · A.· ·I don't know specifically.
14· · · · Seagate?                                               14· · · · Q.· ·Can you look at I think it's seven down where
15· ·BY MR. PASCHAL:                                             15· ·you say four to five hard drives that are no longer in
16· · · · Q.· ·On these two you formated.                        16· ·the estate's possession.· You see that?
17· · · · A.· ·I don't know.· I don't think so.· I don't         17· · · · A.· ·Yes.
18· ·think I put any photos on there.                            18· · · · Q.· ·Then a footnote you say "Ira gave three or
19· · · · Q.· ·Were you able to access the remainder of all      19· ·four drives that were possessed by Dave Kleiman at the
20· ·of Dave's drives?                                           20· ·time of his death to Patrick Paige (Dave's business
21· · · · A.· ·No.                                               21· ·partner in Computer Forensics LLC) as Patrick informed
22· · · · · · ·MR. FREEDMAN:· Objection.                         22· ·him they were Computer Forensic LLC drives with business
23· ·BY MR. PASCHAL:                                             23· ·data stored on them.· There was one other drive that was
24· · · · Q.· ·That's in this list.                              24· ·on Dave's bedroom counter.· This drive was broken and
25· · · · A.· ·Yes, right.                                       25· ·would not power on.· Ira disposed of this drive in

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·1· ·2013."· Do you recall that?                                 ·1· ·BY MR. PASCHAL:
·2· · · · A.· ·Yes.                                              ·2· · · · Q.· ·You don't know what was stored on those
·3· · · · Q.· ·I'm going to just break that down.· Can you       ·3· ·drives, do you?
·4· ·tell me today whether it's three or four drives that you    ·4· · · · A.· ·Correct.
·5· ·gave to Patrick Paige and Carter Conrad?                    ·5· · · · Q.· ·So if a Bitcoin wallet was on that drive you
·6· · · · A.· ·I don't remember.                                 ·6· ·wouldn't know?
·7· · · · · · ·MR. FREEDMAN:· Objection.                         ·7· · · · A.· ·Yes, I don't know -- I never looked at the
·8· ·BY MR. PASCHAL:                                             ·8· ·drives.
·9· · · · Q.· ·Can you say your answer again?                    ·9· · · · Q.· ·Have you asked for those drives back from
10· · · · A.· ·I don't remember the exact number.                10· ·Patrick?
11· · · · Q.· ·Do you recall when you gave him those drives?     11· · · · A.· ·No.
12· · · · · · ·MR. FREEDMAN:· Objection.                         12· · · · Q.· ·Now, you say that there was a drive on the
13· · · · · · ·THE WITNESS:· I believe it was maybe within       13· ·bedroom counter that you couldn't power on and you
14· · · · like a month after Dave passed away.                   14· ·disposed of it.· Do you recall that?
15· ·BY MR. PASCHAL:                                             15· · · · A.· ·Yes.
16· · · · Q.· ·Did they ever give those drives back to you?      16· · · · Q.· ·Dave had an office so was this the only drive
17· · · · A.· ·No.                                               17· ·that was in his bedroom?
18· · · · Q.· ·I want to go into that but let me ask you         18· · · · A.· ·No.· I believe there were -- he kept his
19· ·this.· You said you found this drive on the bedroom         19· ·backpack.
20· ·counter.· Did Dave have an office at his house?             20· · · · Q.· ·So let me do this then.· I'm not going to show
21· · · · A.· ·Yes, he had a room in the back, yes.              21· ·you the photo but on his counter he had a backpack, a
22· · · · Q.· ·Was this -- were the three or four drives you     22· ·blue backpack?
23· ·you gave to Patrick Paige, were those in his bedroom or     23· · · · A.· ·Not on the counter.· In his bedroom.· You
24· ·were they in his office?                                    24· ·asked if there were other hard drives in his bedroom.
25· · · · A.· ·They were in his office.                          25· · · · Q.· ·Okay.· Were there any hard drives in his
                                                       Page 71                                                          Page 73
·1· · · · Q.· ·Before you gave those drives to Patrick Paige     ·1· ·bedroom?
·2· ·did you get any professional analysis to see what was on    ·2· · · · A.· ·Yes.
·3· ·the drives?                                                 ·3· · · · Q.· ·What other drives were in his bedroom?
·4· · · · A.· ·No.                                               ·4· · · · A.· ·I believe most of the drives that you have
·5· · · · Q.· ·Did you look in the drives yourself?              ·5· ·listed here.
·6· · · · A.· ·No.                                               ·6· · · · Q.· ·So he kept all of his drives in his bedroom?
·7· · · · Q.· ·Did you access the drives?                        ·7· · · · A.· ·In a backpack, yes.
·8· · · · A.· ·No.                                               ·8· · · · Q.· ·But the three or four drives that he didn't
·9· · · · Q.· ·How was Patrick able to access the drives?        ·9· ·have in the backpack they were in his office?
10· · · · A.· ·Repeat that.                                      10· · · · A.· ·Yes.
11· · · · Q.· ·How was Patrick able to access the drives?        11· · · · Q.· ·Now, this one drive was on the bedroom
12· · · · A.· ·I don't know.                                     12· ·counter; right?
13· · · · Q.· ·So how did Patrick know that -- well, did         13· · · · A.· ·Yes.
14· ·Patrick tell you how did you know that those drives         14· · · · Q.· ·It was the only drive that was on the bedroom
15· ·belonged to Computer Forensics?                             15· ·counter?
16· · · · A.· ·He told me that they belonged to Computer         16· · · · A.· ·Yes.
17· ·Forensics.                                                  17· · · · Q.· ·What was on his bedroom counter?
18· · · · Q.· ·Did you --                                        18· · · · · · ·MR. FREEDMAN:· Objection.
19· · · · A.· ·I don't remember if they were labeled or not.     19· · · · · · ·THE WITNESS:· I don't remember exactly.
20· · · · Q.· ·But so other than Patrick's word they belonged    20· ·BY MR. PASCHAL:
21· ·to Computer Forensics did you have anything else to show    21· · · · Q.· ·What did this drive look like?
22· ·that they may have not been belonged to Computer            22· · · · A.· ·I just remember it was an external drive.
23· ·Forensics?                                                  23· · · · Q.· ·Do you remember what color it was?
24· · · · · · ·MR. FREEDMAN:· Objection.                         24· · · · A.· ·No.
25· · · · · · ·THE WITNESS:· No.                                 25· · · · Q.· ·You don't know what type it was either?

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IRA KLEIMAN on 04/08/2019                                                                                         Pages 74..77
                                                       Page 74                                                          Page 76
·1· · · · A.· ·Not offhand.                                      ·1· ·day that they went to Dave's house you haven't seen any
·2· · · · Q.· ·Do you remember how big it was?                   ·2· ·of those pictures?
·3· · · · A.· ·Maybe like six or seven inches high by a          ·3· · · · A.· ·No.
·4· ·couple inches wide.                                         ·4· · · · Q.· ·On the drive that you -- you threw away you
·5· · · · Q.· ·So like --                                        ·5· ·wouldn't be able to tell us today one way or another
·6· · · · A.· ·Yes.                                              ·6· ·whether or not there was Bitcoin wallets or Bitcoin
·7· · · · Q.· ·It was a big hard drive?                          ·7· ·information on that drive?
·8· · · · A.· ·I don't --                                        ·8· · · · A.· ·I was never able to access it.
·9· · · · Q.· ·It wasn't like a laptop hard drive, let me ask    ·9· · · · Q.· ·So you wouldn't be able to tell us today
10· ·that?                                                       10· ·whether or not Bitcoin wallets or Bitcoin were on that
11· · · · A.· ·No, it wasn't a laptop drive.· It was an          11· ·drive?
12· ·external drive.                                             12· · · · · · ·MR. FREEDMAN:· Objection.
13· · · · Q.· ·For like a tower computer?                        13· · · · · · ·THE WITNESS:· Again I wasn't able to access
14· · · · A.· ·For a tower computer?                             14· · · · it.
15· · · · Q.· ·For like a regular computer?· For like a          15· ·BY MR. PASCHAL:
16· ·desktop computer?                                           16· · · · Q.· ·Is it a yes or no?
17· · · · A.· ·It could be used with anything.                   17· · · · A.· ·Anything could have been on it.
18· · · · Q.· ·You just plug it in?                              18· · · · Q.· ·But you wouldn't know?
19· · · · A.· ·You can connect it to any type of computer.       19· · · · A.· ·I wouldn't know because I couldn't access it.
20· · · · Q.· ·I'm not going to show the picture but on          20· · · · Q.· ·And you threw it away?
21· ·Dave's countertop he had a blue backpack, he had a          21· · · · A.· ·Yes.· It was -- it didn't work.
22· ·yellow shirt, he had another bag, he had a bottle of        22· · · · Q.· ·Just going back.· So when you came in
23· ·beer.· There was a wine glass that was empty and then he    23· ·possession of Dave's computers did you have your own
24· ·had his glass mirror here.· There was a cell phone on       24· ·personal computer?
25· ·the top of a white box and then right below it there was    25· · · · A.· ·Yes.
                                                       Page 75                                                          Page 77
·1· ·a very, very small black box, that doesn't fit the          ·1· · · · Q.· ·So why did you format Dave's devices so that
·2· ·description of the hard drive you're talking about but      ·2· ·you could use those computers?
·3· ·could that have been the hard drive?                        ·3· · · · A.· ·I guess I needed more storage space.· Maybe my
·4· · · · · · ·MR. FREEDMAN:· Objection.                         ·4· ·computer was full with stuff, other stuff.
·5· · · · · · ·THE WITNESS:· Where are you getting this          ·5· · · · Q.· ·So sitting here today you can't tell us why
·6· · · · picture?· I don't even -- I don't understand the       ·6· ·you decided to use Dave's computers, you're speculating,
·7· · · · picture that you're just painting.                     ·7· ·are you?
·8· ·BY MR. PASCHAL:                                             ·8· · · · A.· ·Why I couldn't use --
·9· · · · Q.· ·The pictures that the police took after when      ·9· · · · Q.· ·Why did you use Dave's computers rather than
10· ·they --                                                     10· ·your own?
11· · · · A.· ·You have actual photos?                           11· · · · A.· ·I put the operating systems on there because
12· · · · Q.· ·Yes.· I can show them.                            12· ·my computer might have had a different operating system.
13· · · · A.· ·Yes, it would help if I could see the photo       13· ·For one reason or another I needed to use like Windows 7
14· ·then I might -- I don't know.                               14· ·or Windows 8 so that's why I formated those two and put
15· · · · · · ·MR. PASCHAL:· Can we print here?                  15· ·those operating systems on there.
16· · · · · · ·MR. FREEDMAN:· Yes.                               16· · · · Q.· ·Why didn't you just get another hard drive or
17· · · · · · ·MR. PASCHAL:· So on our next break I'll print     17· ·computer?
18· · · · it and show you.· I don't know -- the reason why I     18· · · · · · ·MR. FREEDMAN:· Objection.
19· · · · did not show you is because it's -- it is graphic.     19· · · · · · ·THE WITNESS:· His were laying around and
20· · · · So I don't know if -- at the next break you guys       20· · · · they -- they said they could be formated.
21· · · · decide if you want to see it and I can point it out    21· ·BY MR. PASCHAL:
22· · · · to you, okay?                                          22· · · · Q.· ·Who said they could be formated?
23· · · · · · ·THE WITNESS:· Okay.                               23· · · · A.· ·When I plugged them in the pop up screen said
24· ·BY MR. PASCHAL:                                             24· ·that the drives need to be formated.· So that to me that
25· · · · Q.· ·So the pictures that the police took from the     25· ·appears that the drives were empty.

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·1· · · · Q.· ·When you had the drive that was broken what       ·1· ·second paragraph where you start with Patrick.· You say
·2· ·made you think it was broken?                               ·2· ·"Patrick and his partner e-mailed me the other day and
·3· · · · A.· ·It wouldn't turn on.· You didn't hear like the    ·3· ·would like me to bring over his, I guess that means
·4· ·platter spinning or anything.                               ·4· ·Dave's, drives.· I haven't spoken with them about what
·5· · · · Q.· ·Did you ask for any professional help trying      ·5· ·happened if they did manage to access his account. I
·6· ·to get it to start, to turn on?                             ·6· ·assume that anything in it cannot be traced when there
·7· · · · A.· ·No.                                               ·7· ·is a withdrawal.· Being that I've only met Patrick a
·8· · · · Q.· ·So just -- you tried turning it on it didn't      ·8· ·couple times in my life I was wondering if there are any
·9· ·turn on so you threw it away?                               ·9· ·safety measures you can recommend to me so I don't make
10· · · · A.· ·Yes.                                              10· ·another mistake."· So let's break this down.· What did
11· · · · · · ·MR. FREEDMAN:· Objection.                         11· ·you mean by another mistake?
12· ·BY MR. PASCHAL:                                             12· · · · A.· ·I guess I was thinking that if I discarded
13· · · · Q.· ·So when you became the personal representative    13· ·anything that could have been important or related to
14· ·of the estate of Dave Kleiman what steps did you take to    14· ·Bitcoin.
15· ·preserve the assets of the estate?                          15· · · · Q.· ·Then the section before you say "being that
16· · · · A.· ·Well, I reached out to my attorney --             16· ·I've only met Patrick a couple times in my life I was
17· · · · · · ·MR. FREEDMAN:· Ira, if you can answer the         17· ·wondering if there were any safety measures to
18· · · · question without revealing what you discussed with     18· ·recommended to me again so I don't make another
19· · · · your attorney then answer it.· But don't discuss       19· ·mistake."· This is in February 2014 and you're saying
20· · · · anything that you discussed with your attorney.        20· ·that you have only met Patrick a couple times in my
21· · · · · · ·MR. PASCHAL:· Your objection is don't talk        21· ·life?
22· · · · about Karp?                                            22· · · · · · ·MR. FREEDMAN:· Objection.
23· · · · · · ·MR. FREEDMAN:· Just discussions with your         23· ·BY MR. PASCHAL:
24· · · · lawyer.                                                24· · · · Q.· ·Is that correct?
25· · · · · · ·MR. PASCHAL:· Don't tell me about your            25· · · · · · ·MR. FREEDMAN:· Objection.
                                                       Page 79                                                          Page 81
·1· · · · conversations with Karp.                               ·1· · · · · · ·THE WITNESS:· Yes.
·2· ·BY MR. PASCHAL:                                             ·2· ·BY MR. PASCHAL:
·3· · · · Q.· ·When you became the personal representative       ·3· · · · Q.· ·But one month after Dave died you gave him
·4· ·what did you do to preserve the assets of the estate?       ·4· ·three or four of Dave's hard drives; right?
·5· · · · A.· ·My attorney assisted me with doing that.          ·5· · · · A.· ·Correct.
·6· · · · Q.· ·But what did you do like did you -- what did      ·6· · · · Q.· ·That was only based on him telling you these
·7· ·you do personally to preserve whatever was in Dave's        ·7· ·belong to Computer Forensics?
·8· ·house?                                                      ·8· · · · A.· ·Yes.
·9· · · · · · ·MR. FREEDMAN:· Objection.                         ·9· · · · Q.· ·I want to be clear you take any images of the
10· · · · · · ·THE WITNESS:· I collected his personal things.    10· ·drives that you gave to Patrick; right?
11· ·BY MR. PASCHAL:                                             11· · · · A.· ·No.
12· · · · Q.· ·And what did you collect?                         12· · · · Q.· ·So you have no copies?
13· · · · A.· ·Well, his computer equipment, some guns in his    13· · · · A.· ·No.
14· ·gun safe.· Some of his clothing.· Just personal items.      14· · · · Q.· ·So if you go back to the e-mail you say you're
15· ·Like I said, his computer certificates, things like         15· ·going to give certain drives to Patrick and Conrad for
16· ·that.                                                       16· ·them to analyze.· Do you see that?
17· · · · Q.· ·Can you go back to the February 2014 e-mail       17· · · · A.· ·Yes.
18· ·that you had with Dr. Wright where you discussed            18· · · · Q.· ·Did you give them drives?
19· ·formating the drives?                                       19· · · · A.· ·No.
20· · · · · · ·MR. FREEDMAN:· Which exhibit number?              20· · · · Q.· ·Why didn't you give them any drives excluding
21· · · · · · ·MR. PASCHAL:· I didn't write it down.· Do you     21· ·the three or four that you had already given him why
22· · · · have it?                                               22· ·didn't you give him drives at this point?
23· · · · · · ·MR. FREEDMAN:· I think it's Exhibit 6.            23· · · · A.· ·I didn't -- what date are we talking about
24· ·BY MR. PASCHAL:                                             24· ·again?
25· · · · Q.· ·So if you go to the second page that's the        25· · · · Q.· ·So in February of 2014 you told Craig that you

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                                                       Page 82                                                          Page 84
·1· ·were going to give Patrick and Conrad some of Dave's        ·1· · · · A.· ·No.
·2· ·electronic devices to analyze.· Did you give Patrick and    ·2· · · · Q.· ·When did you give that phone to -- that device
·3· ·Conrad Dave's --                                            ·3· ·to Patrick?
·4· · · · A.· ·No.                                               ·4· · · · A.· ·It was the same time that I handed him -- when
·5· · · · Q.· ·The answer is no?                                 ·5· ·he took the three drives from Dave's home.
·6· · · · A.· ·No, I didn't.                                     ·6· · · · Q.· ·Why did you give him something?
·7· · · · · · ·MS. MCGOVERN:· Just finish the question.          ·7· · · · A.· ·Because I couldn't access it and he is a
·8· ·BY MR. PASCHAL:                                             ·8· ·computer forensics expert I thought he would have a
·9· · · · Q.· ·And why didn't you give Patrick and Conrad the    ·9· ·better chance at it than I would.
10· ·drives?                                                     10· · · · · · ·MR. PASCHAL:· Showing you your response and
11· · · · A.· ·I thought that the best idea would be to allow    11· · · · objections to our first set of interrogatories.
12· ·Craig to examine them.                                      12· · · · · · ·(Defendant's Exhibit No. 12 was
13· · · · Q.· ·So you didn't give any drives to Patrick          13· · · · · · ·marked for identification.)
14· ·Paige?                                                      14· ·BY MR. PASCHAL:
15· · · · A.· ·No.                                               15· · · · Q.· ·Can you turn to the last page of this
16· · · · Q.· ·Except for the three or four; right?              16· ·document?· Can you read that statement that you made?
17· · · · A.· ·Right.                                            17· · · · A.· ·"I, Ira Kleiman declare under penalty of
18· · · · · · ·MR. PASCHAL:· I'm showing you the first           18· ·perjury under the laws in the United States and the
19· · · · amended complaint you filed against Patrick Paige      19· ·State of Florida that the foregoing is true and
20· · · · and Carter Conrad.· This is going to be what           20· ·correct."
21· · · · exhibit?                                               21· · · · Q.· ·Can you turn to interrogatory response number
22· · · · · · ·THE COURT REPORTER:· 11.                          22· ·three?
23· · · · · · ·(Defendant's Exhibit No. 11 was                   23· · · · A.· ·Okay.
24· · · · · · ·marked for identification.)                       24· · · · Q.· ·We ask you "describe with specificity all
25                                                               25· ·attempts you have made to access Dave Kleiman's
                                                       Page 83                                                          Page 85
·1· ·BY MR. PASCHAL:                                             ·1· ·electronic devices."· Your response was "Ira did not
·2· · · · Q.· ·Can you turn to paragraph 18?· Let me know        ·2· ·keep a record of every attempt he made to access Dave
·3· ·when you're there.                                          ·3· ·Kleiman's electronic devices.· That said, Ira states
·4· · · · A.· ·Okay.                                             ·4· ·that he personally reviewed all drives that were
·5· · · · Q.· ·So at paragraph 18 you say "shortly after         ·5· ·accessible.· During this review Ira looked through each
·6· ·David Kleiman's passing plaintiff, and that's you, also     ·6· ·individual folder and each individual file contained on
·7· ·entrusted Computer Forensics and Patrick Paige with a       ·7· ·these drives to find anything of importance."
·8· ·smart phone owned by decedent, being Dave, which was        ·8· · · · · · ·You didn't mention in here that you gave a
·9· ·provided the defendants for the purpose of unlocking the    ·9· ·device the cell phone to Patrick Paige for them to
10· ·phone as it was password protected in aid of plaintiff's    10· ·access; is that correct?
11· ·efforts to develop information as to assets of the          11· · · · A.· ·Well, those drives from what I believe --
12· ·estate.                                                     12· · · · Q.· ·Not the drives I'm asking you -- go ahead.
13· · · · · · ·The phone has never been returned to plaintiff    13· · · · A.· ·What are you referring to?
14· ·and defendant Paige has since claimed that he, a            14· · · · Q.· ·The phone, the device, the one that you allege
15· ·computer forensic consultant, had thrown away the phone     15· ·in the Computer Forensic lawsuit.
16· ·after he had dropped the phone and cracked the screen."     16· · · · A.· ·Yes, I didn't give him the cell phone.· I just
17· ·Do you recall making this allegation?                       17· ·asked him to access it.
18· · · · A.· ·Yes.                                              18· · · · Q.· ·So in your amended complaint for Computer
19· · · · Q.· ·So you attempted to access the device being       19· ·Forensics you didn't allege that you gave the phone to
20· ·the phone by giving it to Patrick Paige; correct?           20· ·Patrick to access the phone and that he told you that he
21· · · · A.· ·Yes.                                              21· ·cracked the screen and threw it away?
22· · · · Q.· ·But he never gave you any information from        22· · · · A.· ·I handed the phone to him with an expectation
23· ·that device?                                                23· ·that it would be returned to me.
24· · · · A.· ·Correct.                                          24· · · · Q.· ·But you gave it to him so he could access the
25· · · · Q.· ·Did he ever give it back to you?                  25· ·phone; right?

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                                                       Page 86                                                          Page 88
·1· · · · A.· ·Yes.                                              ·1· ·paragraph you had in your previous version to this
·2· · · · Q.· ·Your testimony earlier was you gave it to him     ·2· ·interrogatory; right?
·3· ·because he is a computer forensic expert so you can         ·3· · · · A.· ·Yes.
·4· ·access the device?                                          ·4· · · · Q.· ·Now, if you turn the page you added the
·5· · · · A.· ·Yes.                                              ·5· ·paragraph.· In this paragraph you mention that you gave
·6· · · · Q.· ·I'm asking you you gave this answer under the     ·6· ·an electronic device to Patrick Paige to access?
·7· ·penalty of perjury.· When we asked you describe with        ·7· · · · A.· ·Apparently not.
·8· ·specificity all attempts you made to access Dave            ·8· · · · Q.· ·So in the two week span that you revised you
·9· ·Kleiman's devices.· You did not say in this answer that     ·9· ·did not include that additional information in this
10· ·you gave an electronic device, being the phone, to          10· ·interrogatory response; correct?
11· ·Patrick to access?                                          11· · · · A.· ·I guess we missed it.
12· · · · A.· ·I thought we listed that phone on here.           12· · · · Q.· ·In the two weeks that you served the first
13· · · · Q.· ·I'm looking just this one interrogatory right     13· ·response and the second response what information did
14· ·here.· You can go through them but nowhere in there do      14· ·you get to remember that you installed Windows operating
15· ·you say you gave the phone to Patrick Paige.                15· ·systems on two drives in an effort to gain access to the
16· · · · A.· ·Okay.                                             16· ·drives in 2013?· What caused you to remember that that
17· · · · Q.· ·So is this an untruthful response?                17· ·information was missing?
18· · · · A.· ·It's possible we just missed including the        18· · · · · · ·MR. FREEDMAN:· Objection.
19· ·cell phone.                                                 19· · · · · · ·THE WITNESS:· Can you repeat that again?
20· · · · Q.· ·Can you go to your amendment to this              20· ·BY MR. PASCHAL:
21· ·interrogatory which is second amended response and          21· · · · Q.· ·Yes, you give us a response on March 7th 2019;
22· ·objection to Dr. Wright's first set of interrogatories.     22· ·right?
23· ·That's Exhibit 10.                                          23· · · · A.· ·Yes.
24· · · · · · ·MR. FREEDMAN:· Are you done with 12?              24· · · · Q.· ·You supplement that response two weeks later
25· · · · · · ·MR. PASCHAL:· We're going to use it again.        25· ·to add a new paragraph in that second paragraph here
                                                       Page 87                                                          Page 89
·1· ·BY MR. PASCHAL:                                             ·1· ·where you're saying you installed windows on the drives
·2· · · · Q.· ·Can you turn to page 11, that's the last page.    ·2· ·which you didn't include in your first version to these
·3· ·You took an oath to the court reporter today and you        ·3· ·interrogatories.
·4· ·also signed this verification.· Can you read it out to      ·4· · · · A.· ·I don't know.
·5· ·me?                                                         ·5· · · · · · ·MR. FREEDMAN:· Objection.
·6· · · · A.· ·"I, Ira Kleiman, declare under penalty of         ·6· ·BY MR. PASCHAL:
·7· ·perjury under the law of the United States and State of     ·7· · · · Q.· ·Are there any documents that shows why you
·8· ·Florida that the foregoing is true and correct."            ·8· ·remembered that your first answer was incomplete?
·9· · · · Q.· ·Can you go back to that same interrogatory        ·9· · · · · · ·MR. FREEDMAN:· Objection.
10· ·request number three.· In the first paragraph you say       10· · · · · · ·THE WITNESS:· I don't know.
11· ·the same thing that you said -- just so I'm clear on        11· ·BY MR. PASCHAL:
12· ·these you revised them you served us on March 21, 2019,     12· · · · Q.· ·Is this a truthful answer?
13· ·okay?· Your first interrogatory responses the first         13· · · · A.· ·At the time I believe it was.
14· ·version of this you served on March 7th 2019.· So two       14· · · · Q.· ·Is it truthful today?
15· ·weeks later we get this revised response.· If you look      15· · · · A.· ·It's possible some information was missed.
16· ·in the second paragraph you add one paragraph to this       16· · · · Q.· ·Is it truthful?
17· ·response.· You want to go ahead and read that?              17· · · · · · ·MR. FREEDMAN:· Objection.
18· · · · A.· ·Where are you?                                    18· · · · · · ·THE WITNESS:· If it's missing some information
19· · · · Q.· ·Interrogatory three, the same one we're           19· · · · I guess it's not completely.
20· ·talking about.· It says request number three but it         20· ·BY MR. PASCHAL:
21· ·should be -- you say describe with specificity?             21· · · · Q.· ·While we're on the interrogatories I'm showing
22· · · · A.· ·"Describe with specificity all the attempts       22· ·you an e-mail that you had with Patrick Paige and this
23· ·you have made to access Dave Kleiman's electronic           23· ·is June 27, 2015.· I think that's Exhibit 12.
24· ·devices."                                                   24· · · · · · ·MR. ROCHE:· 13.
25· · · · Q.· ·Now, that first paragraph it's the same           25

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·1· · · · · · ·(Defendant's Exhibit No. 13 was                   ·1· ·objections to the second set of interrogatories. I
·2· · · · · · ·marked for identification.)                       ·2· ·don't have an exhibit number on that but you guys have
·3· ·BY MR. PASCHAL:                                             ·3· ·it.
·4· · · · Q.· ·In this e-mail you start by saying "hi            ·4· · · · · · ·MR. FREEDMAN:· Second amended?
·5· ·Patrick, I don't think I'm going to be able to meet up      ·5· · · · · · ·MR. PASCHAL:· Not the second amended, the
·6· ·this week.· Need to finish a client's web site.· But for    ·6· · · · second set of interrogatories.
·7· ·now I stored the drives in a safe deposit box so they'll    ·7· · · · · · ·MR. FREEDMAN:· I have responses objections to
·8· ·remain safe and as Craig mentioned there's no time limit    ·8· · · · Wright's first set of interrogatories to plaintiff.
·9· ·with this stuff so we have time to figure it all out."      ·9· · · · I have plaintiff's second amended responses and
10· ·Do you remember this e-mail?                                10· · · · objection to Wright's first set of interrogatories.
11· · · · A.· ·Yes.                                              11· · · · · · ·MR. PASCHAL:· Is it in that stack?
12· · · · Q.· ·Just as an initial matter is there any            12· · · · · · ·MR. FREEDMAN:· It should be identical.· One is
13· ·reason -- what computer did you send this e-mail from?      13· · · · marked and one is not.
14· · · · A.· ·I guess my personal computer.                     14· · · · · · ·MR. ROCHE:· Plaintiff's responses and
15· · · · Q.· ·Is there a reason why the date is set for the     15· · · · objections to plaintiff's second set?
16· ·day to go first then the month and then the year?           16· · · · · · ·MR. FREEDMAN:· What number?
17· · · · A.· ·Can you repeat that?                              17· · · · · · ·MR. ROCHE:· Nine.
18· · · · Q.· ·If you look at the sent the time where it says    18· ·BY MR. PASCHAL:
19· ·Saturday and then it says the date 27 and then it says      19· · · · Q.· ·So at 14 we ask you to describe with
20· ·the month 6 and then the year 2015?                         20· ·specificity all efforts you made to preserve Dave
21· · · · A.· ·Right.                                            21· ·Kleiman's electronic devices and data contained on them.
22· · · · Q.· ·Is there -- was is it unusual to you that it's    22· ·Do you see that interrogatory?
23· ·set like that?                                              23· · · · A.· ·Yes.
24· · · · A.· ·I never really paid attention to it.              24· · · · Q.· ·Under the penalty of perjury again you said "I
25· · · · Q.· ·Your e-mail is -- your e-mail sends out using     25· ·restored all of Dave Kleiman's electronic devices in the
                                                       Page 91                                                          Page 93
·1· ·that date format; right?                                    ·1· ·exact same place that he found them in Dave's computer
·2· · · · · · ·MR. FREEDMAN:· Objection.                         ·2· ·backpack?"
·3· · · · · · ·THE WITNESS:· I don't know.· I never paid         ·3· · · · A.· ·Yes.
·4· · · · attention to it.                                       ·4· · · · Q.· ·Are they in a backpack or safety deposit box?
·5· ·BY MR. PASCHAL:                                             ·5· · · · A.· ·In a back pack.
·6· · · · Q.· ·There's no cause for concern let me ask you       ·6· · · · Q.· ·So you never put them in a safe deposit box?
·7· ·that that your e-mails are sending out --                   ·7· · · · A.· ·I was thinking about them putting them in a
·8· · · · · · ·MR. FREEDMAN:· Objection.                         ·8· ·save deposit.· Then I decided to keep them where I found
·9· ·BY MR. PASCHAL:                                             ·9· ·them.
10· · · · Q.· ·No, right?                                        10· · · · Q.· ·You said when Ira reviewed these devices he
11· · · · A.· ·No.                                               11· ·found nothing of importance or out of ordinary but you
12· · · · Q.· ·Would it be surprising to you if Dave had         12· ·did find the true crypt file on the drive which you
13· ·e-mails that also had -- used that same date                13· ·could not access.· You made copies of these files?
14· ·configuration?                                              14· · · · · · ·MR. FREEDMAN:· Objection.
15· · · · · · ·MR. FREEDMAN:· Objection.                         15· ·BY MR. PASCHAL:
16· ·BY MR. PASCHAL:                                             16· · · · Q.· ·You see that?
17· · · · Q.· ·Date, month, year?                                17· · · · A.· ·Yes.
18· · · · A.· ·I suppose not.                                    18· · · · Q.· ·How did you determine what was of importance
19· · · · Q.· ·In the February 2000 -- February 15, 2014         19· ·or whether something was out of the ordinary?
20· ·e-mail you told Patrick that you put the drives in a        20· · · · A.· ·I basically kept everything of Dave's, all of
21· ·safe deposit box; correct?                                  21· ·his files.· But are you -- are you asking me about the
22· · · · · · ·MR. FREEDMAN:· Objection.                         22· ·true crypt file specifically?
23· · · · · · ·THE WITNESS:· Yes.                                23· · · · Q.· ·I'm asking in that sentence.· "When I reviewed
24· ·BY MR. PASCHAL:                                             24· ·Dave's devices he found nothing of importance or out of
25· · · · Q.· ·Now, can you turn to your responses and           25· ·the ordinary."· These are Dave's work laptops; correct,

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·1· ·some of them were his personal laptops, work laptops;       ·1· · · · A.· ·I think it's in my bedroom.
·2· ·right?                                                      ·2· · · · Q.· ·You think or -- are you guessing, do you know
·3· · · · · · ·MR. FREEDMAN:· Objection.                         ·3· ·for sure?
·4· · · · · · ·THE WITNESS:· I don't know what drives were in    ·4· · · · A.· ·Well, I sometimes move around.· Sometimes if I
·5· · · · his laptops.                                           ·5· ·was like using the drives it would be in my bedroom.
·6· ·BY MR. PASCHAL:                                             ·6· ·Other times I would store it in an extra room.
·7· · · · Q.· ·But these drives had Dave's work on them;         ·7· · · · Q.· ·You said when you use the drives, what are you
·8· ·right?                                                      ·8· ·using the drives for?
·9· · · · A.· ·It had forensic related software on them. I       ·9· · · · A.· ·Just my personal files.
10· ·don't know.                                                 10· · · · Q.· ·What personal files?
11· · · · Q.· ·How did you determine that there was nothing      11· · · · A.· ·I don't recall exactly.
12· ·of importance or out of the ordinary on Dave's drives?      12· · · · Q.· ·Because earlier we spoke and on the drives
13· · · · A.· ·I kept all of his stuff.                          13· ·you -- strike that.· So I'm going back to Computer
14· · · · Q.· ·That's not my question.· My question is how       14· ·Forensics, the complaint you filed against Computer
15· ·did you determine whether something was of importance or    15· ·Forensics and Patrick Paige.· Do you have that in front
16· ·out of the ordinary?                                        16· ·of you?
17· · · · A.· ·Being that I didn't delete any of his             17· · · · · · ·MR. FREEDMAN:· 11, right?
18· ·things -- I just kept everything.                           18· · · · · · ·MR. PASCHAL:· Yes.· Do you have it?
19· · · · Q.· ·You made a statement here that he found or you    19· · · · · · ·MR. FREEDMAN:· Yes.
20· ·found nothing of importance out of the ordinary.· What      20· ·BY MR. PASCHAL:
21· ·were you looking for in those drives to determine           21· · · · Q.· ·So if you go to paragraph 32 on page eight.
22· ·whether anything was of importance or was out of the        22· ·That's a Count III and you're seeking a permanent
23· ·ordinary?                                                   23· ·injunction.· Do you see that?
24· · · · A.· ·I don't know.                                     24· · · · A.· ·32?
25· · · · Q.· ·I'm sorry, could you say that again?              25· · · · Q.· ·The heading Count III seeking a permanent
                                                       Page 95                                                          Page 97
·1· · · · A.· ·I don't know.                                     ·1· ·injunction?
·2· · · · Q.· ·The true crypt file, what have you done to        ·2· · · · A.· ·Yes.
·3· ·access that file?                                           ·3· · · · Q.· ·If you go to paragraph 32 and you look at the
·4· · · · A.· ·I just stored it -- I just made copies of it.     ·4· ·last sentence you say "further upon information and
·5· ·There's been no attempt to access it.                       ·5· ·belief David Kleiman created and maintained Bitcoin
·6· · · · · · ·THE VIDEOGRAPHER:· The time is 12:18 p.m. and     ·6· ·wallets which were his personal property during the time
·7· · · · we're off the record.                                  ·7· ·he was a member of Computer Forensics."· Do you recall
·8· · · · · · ·(Thereupon, a brief recess was taken.)            ·8· ·making that allegation?
·9· · · · · · ·THE VIDEOGRAPHER:· The time is now 1:11 p.m.      ·9· · · · A.· ·I don't remember saying those exact words
10· · · · and we are now back on the record.                     10· ·but --
11· ·BY MR. PASCHAL:                                             11· · · · Q.· ·But this is your complaint; right?
12· · · · Q.· ·So Ira, when we left off we were talking about    12· · · · A.· ·Yes.
13· ·where Dave's devices were located, whether they were in     13· · · · Q.· ·Now, if you go to paragraph 35 at the last
14· ·a safety deposit box or computer bag.· You said they're     14· ·sentence as a part of your permanent injunction you say
15· ·in the computer bag?                                        15· ·to the extent that Computer Forensics, Paige or Conrad
16· · · · A.· ·Yes.                                              16· ·have retained any Bitcoin wallets that were the personal
17· · · · Q.· ·Where is that computer bag located?               17· ·property of David Kleiman Computer Forensics should be
18· · · · A.· ·In my home.                                       18· ·enjoined from monetizing, transferring or otherwise
19· · · · Q.· ·So you have the hard drives and the bag?          19· ·converting such Bitcoin to its use and that's a typo it
20· · · · A.· ·Yes.                                              20· ·should be or it says of or the use of its principals or
21· · · · Q.· ·What type of bag is it?                           21· ·third parties.· Do you see that allegation that you
22· · · · A.· ·Just a large backpack.                            22· ·made?
23· · · · Q.· ·Do you know the brand?                            23· · · · A.· ·Yes.
24· · · · A.· ·Not offhand.                                      24· · · · Q.· ·So can you turn to your second amended
25· · · · Q.· ·Where in your house are you keeping it?           25· ·responses to our first interrogatories I think that's


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·1· ·ten.                                                        ·1· ·did not mention that you were seeking an injunction in
·2· · · · · · ·MR. FREEDMAN:· Second amended responses?          ·2· ·the sworn interrogatory?
·3· · · · · · ·MR. PASCHAL:· Yes.                                ·3· · · · · · ·MR. FREEDMAN:· Objection.
·4· · · · · · ·MR. FREEDMAN:· It is ten.                         ·4· ·BY MR. PASCHAL:
·5· · · · · · ·MR. PASCHAL:· 10.                                 ·5· · · · Q.· ·Did you?
·6· ·BY MR. PASCHAL:                                             ·6· · · · · · ·MR. FREEDMAN:· Objection.
·7· · · · Q.· ·Can you turn to page four?· You ready?· You       ·7· · · · · · ·THE WITNESS:· I don't know.
·8· ·say "describe with specificity all attempts you made to     ·8· ·BY MR. PASCHAL:
·9· ·determine the identity and location of any crypto           ·9· · · · Q.· ·Is that a yes or no?
10· ·currency that David Kleiman owned or possessed at the       10· · · · A.· ·I don't know.
11· ·time of his death."                                         11· · · · Q.· ·You don't know in this interrogatory response
12· · · · · · ·In your answer under the penalty of perjury       12· ·whether you make any mention of the injunction that
13· ·you did not make any mention that you're seeking a          13· ·you're seeking against Patrick Paige, Carter Conrad and
14· ·permanent injunction against Computer Forensics, Patrick    14· ·Computer Forensics?
15· ·Paige, Carter Conrad for the return of David Kleiman's      15· · · · · · ·MR. FREEDMAN:· Objection.
16· ·personal Bitcoin wallets, do you?                           16· · · · · · ·THE WITNESS:· I don't know.
17· · · · A.· ·Could you repeat that?                            17· ·BY MR. PASCHAL:
18· · · · Q.· ·Yes.· Can you read it back?                       18· · · · Q.· ·Ira, you can turn to the interrogatory and
19· · · · · · ·(Thereupon, a portion of the record               19· ·read it if you would like.
20· · · · · · ·was read back by the reporter.)                   20· · · · A.· ·What page?
21· · · · · · ·THE WITNESS:· I don't know -- I suppose we        21· · · · Q.· ·It's on page four.
22· · · · missed that.                                           22· · · · A.· ·What is your question?
23· ·BY MR. PASCHAL:                                             23· · · · Q.· ·Nowhere in here do you mention that you're
24· · · · Q.· ·Ira, so can you go to the last page of this       24· ·seeking a permanent injunction for David Kleiman's
25· ·interrogatory.· This is your signature, right?              25· ·Bitcoin for Patrick Paige, Carter Conrad and Computer
                                                       Page 99                                                         Page 101
·1· · · · A.· ·Yes.                                              ·1· ·Forensics?
·2· · · · Q.· ·And you are swearing the under penalty of         ·2· · · · · · ·MR. FREEDMAN:· Objection.
·3· ·perjury that the foregoing answers are true and correct;    ·3· · · · · · ·THE WITNESS:· I don't know.
·4· ·correct?                                                    ·4· ·BY MR. PASCHAL:
·5· · · · A.· ·Yes.                                              ·5· · · · Q.· ·Ira, it's really a yes or no.· In this answer
·6· · · · Q.· ·And the question we're asking is whether all      ·6· ·do you mention that you're seeking an injunction against
·7· ·attempts that you've made to find or locate or access       ·7· ·Patrick Paige, Carter Conrad and Computer Forensics?
·8· ·David Kleiman's Bitcoin, right?                             ·8· ·You're under oath today just like you were under oath
·9· · · · A.· ·Yes.                                              ·9· ·under these interrogatories.
10· · · · Q.· ·Isn't it important to mention that you're         10· · · · · · ·MR. FREEDMAN:· Objection.
11· ·seeking a permanent injunction against three or two         11· · · · · · ·THE WITNESS:· My attorneys drafted this and I
12· ·people in a company to get those very Bitcoin?              12· · · · don't -- I don't completely understand what an
13· · · · · · ·MR. FREEDMAN:· Objection.                         13· · · · injunction is.
14· · · · · · ·THE WITNESS:· We didn't know if they possessed    14· ·BY MR. PASCHAL:
15· · · · any Bitcoin.                                           15· · · · Q.· ·Well, without understanding what an injunction
16· ·BY MR. PASCHAL:                                             16· ·is you do allege here in Computer Forensics' complaint
17· · · · Q.· ·You made the allegation without knowing?          17· ·that to the extent that Computer Forensics, Paige,
18· · · · A.· ·I don't know.                                     18· ·Conrad have retained any Bitcoin wallets that were the
19· · · · Q.· ·You don't know if you made the allegation in      19· ·personal property of David Kleiman, Computer Forensics
20· ·this complaint without knowing whether it was true or       20· ·should be enjoined from monetizing, transferring or
21· ·not?                                                        21· ·otherwise converting Bitcoin to its use or its use to
22· · · · · · ·MR. FREEDMAN:· Objection.                         22· ·third parties.· Do you understand the allegation you
23· · · · · · ·THE WITNESS:· I don't remember.                   23· ·made?
24· ·BY MR. PASCHAL:                                             24· · · · · · ·MR. FREEDMAN:· Objection.
25· · · · Q.· ·But aside from whether it's true or not you       25· · · · · · ·THE WITNESS:· No.


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                                                      Page 102                                                         Page 104
·1· ·BY MR. PASCHAL:                                             ·1· · · · · · ·MR. FREEDMAN:· It's not a question.
·2· · · · Q.· ·So if there is a similar allegation in the        ·2· ·BY MR. PASCHAL:
·3· ·Second Amended Complaint which you filed against            ·3· · · · Q.· ·Add a question mark.· That's a question.· Is
·4· ·Dr. Wright you wouldn't understand that allegation          ·4· ·that your testimony today?
·5· ·either, would you?                                          ·5· · · · A.· ·We're talking about Computer Forensics?
·6· · · · · · ·MR. FREEDMAN:· Objection.                         ·6· · · · Q.· ·Computer Forensics, this allegation.
·7· · · · · · ·THE WITNESS:· I didn't draft the complaints.      ·7· · · · A.· ·Yes, because I believe that they had access to
·8· ·BY MR. PASCHAL:                                             ·8· ·Dave's --
·9· · · · Q.· ·Did you look at them?                             ·9· · · · Q.· ·Sorry, go ahead.
10· · · · A.· ·Yes.                                              10· · · · A.· ·To Dave's -- well, property that they shared
11· · · · Q.· ·Did you review them?                              11· ·with Dave.
12· · · · A.· ·Yes.                                              12· · · · Q.· ·That was enough for you to file a complaint
13· · · · Q.· ·Did you say it's okay to file this?               13· ·against Computer Forensics?
14· · · · A.· ·Yes.                                              14· · · · · · ·MR. FREEDMAN:· Objection.
15· · · · Q.· ·Are did you look at these interrogatories?        15· · · · · · ·THE WITNESS:· That's not what solely the
16· · · · A.· ·Yes.                                              16· · · · complaint was about.
17· · · · Q.· ·Did you review them?                              17· ·BY MR. PASCHAL:
18· · · · A.· ·Yes.                                              18· · · · Q.· ·I'm talking about this very sentence, these
19· · · · Q.· ·Did you swear under the penalty of perjury        19· ·two sentences I mentioned.
20· ·that these answers are correct?                             20· · · · · · ·MR. FREEDMAN:· Objection.
21· · · · A.· ·Yes.                                              21· · · · · · ·THE WITNESS:· I suppose so.
22· · · · · · ·MR. FREEDMAN:· Objection.                         22· ·BY MR. PASCHAL:
23· ·BY MR. PASCHAL:                                             23· · · · Q.· ·Getting back to this though are there any
24· · · · Q.· ·Are they correct?                                 24· ·communication aside from with your lawyers or any
25· · · · · · ·MR. FREEDMAN:· Objection.                         25· ·documents showing why you decided to leave out this
                                                      Page 103                                                         Page 105
·1· · · · · · ·THE WITNESS:· I don't know entirely.              ·1· ·injunction or mention of the injunction in your
·2· ·BY MR. PASCHAL:                                             ·2· ·interrogatories?
·3· · · · Q.· ·So do you have any basis to support the           ·3· · · · · · ·MR. FREEDMAN:· Objection.
·4· ·allegation you're making here in the Computer Forensics     ·4· · · · · · ·THE WITNESS:· I don't know.
·5· ·complaint?                                                  ·5· ·BY MR. PASCHAL:
·6· · · · · · ·MR. FREEDMAN:· Objection.                         ·6· · · · Q.· ·We talked about three or four hard drives
·7· · · · · · ·THE WITNESS:· I believe so at the time.           ·7· ·earlier that you gave to Dr. Wright after Dave died.
·8· ·BY MR. PASCHAL:                                             ·8· ·Let me repeat the question.· That there were three to
·9· · · · Q.· ·And what was that?· What evidence?· What          ·9· ·four hard drives you gave to Patrick one month after
10· ·documents?                                                  10· ·Dave died?
11· · · · A.· ·I thought it was possible that they retain --     11· · · · A.· ·(Indicating).
12· ·being that they were partners with Dave they may have       12· · · · Q.· ·Could Bitcoin address, Bitcoin wallets have
13· ·shared equipment, they may have had access to Dave's        13· ·been on those hard drives?
14· ·property.                                                   14· · · · · · ·MR. FREEDMAN:· Objection.
15· · · · Q.· ·So Ira, just -- your testimony today is that      15· · · · · · ·THE WITNESS:· I was told that they were just
16· ·you made that allegation because they were partners with    16· · · · work related drives.
17· ·Dave and they had access to Dave's information?             17· ·BY MR. PASCHAL:
18· · · · · · ·MR. FREEDMAN:· Objection.· There's no question    18· · · · Q.· ·And who told you that?
19· · · · pending.                                               19· · · · A.· ·Patrick.
20· · · · · · ·MR. PASCHAL:· There is a question.                20· · · · Q.· ·The person you're suing?
21· · · · · · ·MR. FREEDMAN:· What's the question?· Do you       21· · · · A.· ·Yes.
22· · · · want to read it back?                                  22· · · · Q.· ·And that lawsuit is still active today?
23· · · · · · ·MR. PASCHAL:· Read the question back.             23· · · · A.· ·Yes.
24· · · · · · ·(Thereupon, a portion of the record               24· · · · Q.· ·Ira, did you ever notify this court in this
25· · · · · · ·was read back by the reporter.)                   25· ·action that you have a separate action where you're

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·1· ·seeking the same stuff against three other people?          ·1· ·with Angie Ojea, is that how you say her last name?
·2· · · · · · ·MR. FREEDMAN:· Hold on.· Where are you in your    ·2· · · · A.· ·Angie Ojea.
·3· · · · topics?                                                ·3· · · · · · ·(Defendant's Exhibit No. 14 was
·4· · · · · · ·MR. PASCHAL:· I'm just asking him.                ·4· · · · · · ·marked for identification.)
·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.         ·5· ·BY MR. PASCHAL:
·6· ·BY MR. PASCHAL:                                             ·6· · · · Q.· ·Can you turn to -- do you remember this
·7· · · · Q.· ·Ira, let's talk about as a personal               ·7· ·e-mail?· Take a look at it.
·8· ·representative when you came in possession of Dave's        ·8· · · · A.· ·The one at the very top?
·9· ·stuff.· When did you learn that Dave passed away?           ·9· · · · Q.· ·Do you remember this e-mail in general?· Do
10· · · · A.· ·Around April -- I think it was 27, 28 of 2013.    10· ·you remember having this e-mail conversation with
11· · · · Q.· ·So if Dave passed on the 26th you learned the     11· ·Angela?
12· ·day after, two days after?                                  12· · · · A.· ·I remember having a few e-mail exchanges.
13· · · · A.· ·I think so.                                       13· · · · Q.· ·If you go to page six.
14· · · · Q.· ·Where were you?                                   14· · · · A.· ·Okay.
15· · · · A.· ·I don't exactly recall.· Probably home.           15· · · · · · ·MR. FREEDMAN:· These aren't Bates stamped.
16· · · · Q.· ·Do you remember what you were doing when you      16· · · · · · ·MR. PASCHAL:· No, these are the ones you
17· ·found out that Dave died?                                   17· · · · produced to us.· I guess when I printed them out
18· · · · A.· ·No.                                               18· · · · they didn't have the Bates stamp.
19· · · · Q.· ·Do you remember what time of the day it was?      19· ·BY MR. PASCHAL:
20· · · · A.· ·No.                                               20· · · · Q.· ·Not important.· Somewhere in this e-mail you
21· · · · Q.· ·Do you remember who told you?                     21· ·mentioned you hired a cleaning crew?
22· · · · A.· ·Yes, my dad.                                      22· · · · A.· ·Yes.
23· · · · Q.· ·Did you go to his house right away?               23· · · · Q.· ·The cleaning crew found bullet casing?
24· · · · A.· ·Go to whose house?                                24· · · · A.· ·Yes.
25· · · · Q.· ·Your brother, Dave.                               25· · · · Q.· ·Did you take out Dave's work papers and
                                                      Page 107                                                         Page 109
·1· · · · A.· ·No.                                               ·1· ·electronic devices before the cleaning crew cleaned the
·2· · · · Q.· ·When did you go to Dave's house after you         ·2· ·house?
·3· ·learned that he died?                                       ·3· · · · A.· ·No.· I definitely did not.
·4· · · · A.· ·Probably maybe two or three weeks afterwards.     ·4· · · · Q.· ·Can you tell me the name of the cleaning crew?
·5· · · · Q.· ·Did you go to your dad's house right after you    ·5· · · · A.· ·I don't have it off --
·6· ·learned that Dave died?                                     ·6· · · · Q.· ·Do you have any documents showing who the
·7· · · · A.· ·I don't remember.                                 ·7· ·cleaning crew is?
·8· · · · Q.· ·Do you remember what you did after you learned    ·8· · · · A.· ·I think I can get the name.
·9· ·that Dave died?                                             ·9· · · · · · ·MR. PASCHAL:· Can you give us that?
10· · · · · · ·MR. FREEDMAN:· Objection.                         10· · · · · · ·MR. FREEDMAN:· (Indicating).
11· · · · · · ·THE WITNESS:· I just remember talking to my       11· ·BY MR. PASCHAL:
12· · · · dad about it.                                          12· · · · Q.· ·Did the cleaning crew find anything else other
13· ·BY MR. PASCHAL:                                             13· ·than the bullet casing that they mentioned to you?
14· · · · Q.· ·But you don't remember anything else?             14· · · · A.· ·That was the only thing they mentioned.
15· · · · A.· ·No.                                               15· · · · Q.· ·So how -- when did the cleaning crew clean
16· · · · Q.· ·Ira, would it be fair to say that you weren't     16· ·Dave's house?
17· ·really close with Dave?                                     17· · · · A.· ·Maybe -- I don't remember exactly.· I'm
18· · · · · · ·MR. FREEDMAN:· Objection, stop.· What does        18· ·thinking maybe one or two weeks after.
19· · · · this go to?                                            19· · · · Q.· ·Do you know when Dave's house was foreclosed?
20· ·BY MR. PASCHAL:                                             20· · · · A.· ·No.
21· · · · Q.· ·Let me rephrase.· You don't have personal         21· · · · Q.· ·Did you go by his house and check on his
22· ·knowledge relating to Dave's business activities, do        22· ·things or did you already remove everything from the
23· ·you?                                                        23· ·house?
24· · · · A.· ·No.                                               24· · · · · · ·MR. FREEDMAN:· Objection.
25· · · · Q.· ·I'm showing you an e-mail exchange you had        25· · · · · · ·THE WITNESS:· What time are you talking about?

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                                                      Page 110                                                         Page 112
·1· ·BY MR. PASCHAL:                                             ·1· ·other electronic devices in the house you may have not
·2· · · · Q.· ·After he died -- before the house was             ·2· ·known about?
·3· ·foreclosed on did you already remove Dave's belongings      ·3· · · · · · ·MR. FREEDMAN:· Objection.
·4· ·from the house?                                             ·4· · · · · · ·THE WITNESS:· I believe I collected all of the
·5· · · · A.· ·I don't know exactly.· Are you talking like       ·5· · · · equipment that I visibly saw.
·6· ·after the cleaning crew?                                    ·6· ·BY MR. PASCHAL:
·7· · · · Q.· ·No.· So before Wells Fargo finished the           ·7· · · · Q.· ·But there was still stuff in the house; right?
·8· ·foreclosure sale --                                         ·8· · · · A.· ·Like furniture.
·9· · · · A.· ·I don't know when that was.                       ·9· · · · Q.· ·Did you check all the furniture to see what
10· · · · Q.· ·I know but let's say it's this date.· Any time    10· ·was in them?
11· ·before that date did you remove Dave's electronic           11· · · · A.· ·I don't remember.
12· ·devices, his papers, his possessions?                       12· · · · Q.· ·So if something was important in some of his
13· · · · · · ·MR. FREEDMAN:· Objection.                         13· ·furniture you wouldn't be able to tell us that; right?
14· ·BY MR. PASCHAL:                                             14· · · · · · ·MR. FREEDMAN:· Objection.
15· · · · Q.· ·Or were they foreclosed with his stuff still      15· · · · · · ·THE WITNESS:· I don't remember searching
16· ·in the house?                                               16· · · · through his furniture.
17· · · · · · ·MR. FREEDMAN:· Objection.                         17· ·BY MR. PASCHAL:
18· · · · · · ·THE WITNESS:· I don't know when they              18· · · · Q.· ·Sorry, what did you say?
19· · · · foreclosed.                                            19· · · · A.· ·I don't remember searching through his
20· ·BY MR. PASCHAL:                                             20· ·furniture.
21· · · · Q.· ·Did you ever take all of Dave's stuff out of      21· · · · Q.· ·When you saw -- so Dave had two Alienware
22· ·the house?                                                  22· ·computers and a laptop?
23· · · · A.· ·I don't think I took everything.                  23· · · · A.· ·Yes.
24· · · · Q.· ·Stuff was left in the house though?               24· · · · Q.· ·Was the Alienware -- was it -- was the
25· · · · A.· ·Yes.                                              25· ·Alienware computer was it the color black?
                                                      Page 111                                                         Page 113
·1· · · · Q.· ·Who else had access to Dave's house?              ·1· · · · A.· ·Yes.
·2· · · · A.· ·I think his girlfriend at the time, Lyneda.       ·2· · · · Q.· ·One of them was, right?
·3· · · · Q.· ·What about after his death who had access to      ·3· · · · A.· ·I believe both.
·4· ·the house?                                                  ·4· · · · Q.· ·Were the hard drives in the computer or were
·5· · · · A.· ·I'm not sure if -- I'm not sure if anyone         ·5· ·they out of them when you got the Alienware computer?
·6· ·else -- I had his key.                                      ·6· · · · A.· ·They were out of them.
·7· · · · Q.· ·Did you change his locks?                         ·7· · · · Q.· ·Was there any evidence in the house showing
·8· · · · A.· ·No.                                               ·8· ·why the hard drives were removed from the computers?
·9· · · · Q.· ·Did you have a security system on the house?      ·9· · · · · · ·MR. FREEDMAN:· Objection.
10· · · · A.· ·I think he did.                                   10· · · · · · ·THE WITNESS:· No.· I don't think so.
11· · · · Q.· ·Was it active after he died?                      11· ·BY MR. PASCHAL:
12· · · · A.· ·I don't remember using a security system to       12· · · · Q.· ·Did Dave typically keep his hard drives out of
13· ·get in.· I just used the key.                               13· ·his computer?
14· · · · Q.· ·Were you paying the electrical bill for the       14· · · · A.· ·I don't know what he did.
15· ·house?                                                      15· · · · Q.· ·On the ESI disclosure you listed one phone but
16· · · · A.· ·I didn't.· I don't believe.                       16· ·you said that Patrick had destroyed Dave's phone so what
17· · · · Q.· ·Was anybody paying the electric bill for the      17· ·phone -- did Dave have two phones?
18· ·house?                                                      18· · · · A.· ·Yes.
19· · · · A.· ·Not that I'm aware of.                            19· · · · Q.· ·What phone -- do you remember the make and
20· · · · Q.· ·So there was no electricity in the house as       20· ·model of the phone you gave to Patrick Paige?
21· ·far as you're aware after he died?                          21· · · · A.· ·I believe it was a Samsung Galaxy.· I don't
22· · · · A.· ·I'm trying to -- I don't remember.                22· ·remember the model.· It's probably listed in --
23· · · · Q.· ·So if there was no electricity in the house       23· · · · Q.· ·It's in the disclosures.· No, it's not
24· ·the house was going into foreclosure -- strike that.        24· ·actually.· It's a Samsung Galaxy?
25· ·Can you definitively say whether or not there was any       25· · · · A.· ·That's all it says?


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·1· · · · Q.· ·I'm asking you.                                   ·1· · · · Q.· ·When did --
·2· · · · A.· ·Yes, it was a Samsung Galaxy.                     ·2· · · · A.· ·I just don't remember at the present time.
·3· · · · Q.· ·Did you see any devices used for Bitcoin          ·3· · · · Q.· ·So you don't remember any efforts you took to
·4· ·mining, Bitcoin servers, anything?                          ·4· ·access those e-mail accounts, do you?
·5· · · · A.· ·Not that I'm aware of.· I wouldn't know what a    ·5· · · · · · ·MR. FREEDMAN:· Objection.
·6· ·Bitcoin mining server would look like.                      ·6· · · · · · ·THE WITNESS:· Like I said I do recall
·7· · · · Q.· ·Would you have known what a Bitcoin wallet        ·7· · · · accessing Dave@DaveKleiman.com.
·8· ·looks like?                                                 ·8· ·BY MR. PASCHAL:
·9· · · · A.· ·No.                                               ·9· · · · Q.· ·The first two and last two?
10· · · · Q.· ·So if you saw one you wouldn't have thought it    10· · · · A.· ·The first two I don't remember.
11· ·was important, would you?                                   11· · · · Q.· ·The last two what did you do to access those
12· · · · · · ·MR. FREEDMAN:· Objection.                         12· ·accounts?
13· · · · · · ·THE WITNESS:· If I saw one?· I suppose not. I     13· · · · A.· ·I think I recovered the domain names to those
14· · · · wouldn't know how to detect what a Bitcoin wallet      14· ·but I don't think I ever like set up an active account
15· · · · was.                                                   15· ·for them.· So I don't think those e-mail addresses work.
16· ·BY MR. PASCHAL:                                             16· · · · Q.· ·So when you say you have the domain name you
17· · · · Q.· ·If he had a wallet for example on paper and it    17· ·should be able to get access then to the e-mail address,
18· ·just had random letters and numbers on it you wouldn't      18· ·right?
19· ·have known that was a Bitcoin wallet; right?                19· · · · A.· ·No, not unless you set up an account for it.
20· · · · · · ·MR. FREEDMAN:· Objection.                         20· · · · Q.· ·You haven't set up an account for these?
21· · · · · · ·THE WITNESS:· I suppose not.                      21· · · · A.· ·I don't believe so.
22· ·BY MR. PASCHAL:                                             22· · · · Q.· ·Could you set up an account?
23· · · · Q.· ·So when you threw papers away that you thought    23· · · · A.· ·Yes.
24· ·weren't important you could have thrown away one of         24· · · · Q.· ·Why haven't you?
25· ·those papers that had a Bitcoin wallet on it; right?        25· · · · A.· ·Just there's no purpose.· If I set up an
                                                      Page 115                                                         Page 117
·1· · · · · · ·MR. FREEDMAN:· Objection.                         ·1· ·account it's not going to suddenly give me access to
·2· · · · · · ·THE WITNESS:· It's possible, yes.                 ·2· ·e-mails that were sent to those addresses a long time
·3· · · · · · ·MR. PASCHAL:· Let's go to the ESI disclosure.     ·3· ·ago.
·4· · · · I haven't given that to you, I'm sorry.                ·4· · · · Q.· ·Why not?
·5· · · · · · ·(Defendant's Exhibit No. 15 was                   ·5· · · · A.· ·It's just because his e-mails were hosted
·6· · · · · · ·marked for identification.)                       ·6· ·elsewhere.
·7· ·BY MR. PASCHAL:                                             ·7· · · · Q.· ·Where were they hosted?
·8· · · · Q.· ·On this ESI disclosure under number one you       ·8· · · · A.· ·I think they were hosted with Patrick's
·9· ·list David Kleiman's e-mail accounts.· You list five.       ·9· ·company, Computer Forensics LLC.
10· ·You see that?                                               10· · · · Q.· ·All five of his e-mail addresses were hosted
11· · · · A.· ·Yes.                                              11· ·by Patrick?
12· · · · Q.· ·Do you have access to all five e-mail             12· · · · A.· ·I believe so.
13· ·accounts?                                                   13· · · · Q.· ·Did Patrick give you access to these e-mail
14· · · · A.· ·I don't believe so.                               14· ·accounts?
15· · · · Q.· ·Which ones do you not have access to?             15· · · · A.· ·It's possible after the litigation with
16· · · · A.· ·I would have to check.· I don't remember          16· ·Patrick that he gave me those.· I would to check the
17· ·offhand.                                                    17· ·records.
18· · · · Q.· ·Do you know which e-mail account you do have      18· · · · Q.· ·You said through the litigation, through the
19· ·access to?                                                  19· ·lawsuit?
20· · · · A.· ·I have access to Dave@DaveKleiman.com.            20· · · · A.· ·Yes.
21· · · · Q.· ·But you're not sure about the rest?               21· · · · Q.· ·When do you think you got access -- when do
22· · · · A.· ·I don't believe I have access to the two on       22· ·you think that Patrick may have given you access to
23· ·the bottom.· The two at the top I'm not sure about.         23· ·those e-mail accounts?
24· · · · Q.· ·Have you tried to log into those?                 24· · · · A.· ·I would have to go back and look at the
25· · · · A.· ·I may have.                                       25· ·records.

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·1· · · · Q.· ·I just want to know the process.· For             ·1· · · · · · ·MR. FREEDMAN:· Objection.
·2· ·Patrick -- it would just be Patrick he can access the       ·2· · · · · · ·THE WITNESS:· Like I said I would have to go
·3· ·e-mail accounts and give you the documents in them?         ·3· · · · back and look at those accounts to see if I have
·4· · · · A.· ·I'm not exactly sure what access he had to        ·4· · · · access to them.· Like I said the two at the bottom
·5· ·those accounts after Dave passed.                           ·5· · · · I'm certain I never accessed.· The two at the top I
·6· · · · Q.· ·Did you request from Patrick access to those      ·6· · · · have to check.
·7· ·e-mails before you filed this lawsuit?                      ·7· ·BY MR. PASCHAL:
·8· · · · A.· ·Before this lawsuit?                              ·8· · · · Q.· ·Just back on my question.· Did you review any
·9· · · · Q.· ·Before this lawsuit.                              ·9· ·documents from these e-mail accounts before you filed
10· · · · A.· ·I believe so.                                     10· ·this lawsuit?
11· · · · Q.· ·And he never gave them to you?                    11· · · · · · ·MR. FREEDMAN:· Obviously don't answer anything
12· · · · A.· ·I think eventually yes, he did.                   12· · · · to the extent it involves conversations with your
13· · · · Q.· ·So we haven't received any production from        13· · · · attorneys.
14· ·these e-mail addresses.· Why haven't we?                    14· · · · · · ·THE WITNESS:· I have to go back and look at
15· · · · · · ·MR. FREEDMAN:· Objection.                         15· · · · what records were produced.
16· · · · · · ·THE WITNESS:· I don't know if we've -- if         16· ·BY MR. PASCHAL:
17· · · · they're currently active.· Like I said the only one    17· · · · Q.· ·What e-mail account is verifymail@G-mail.com?
18· · · · that I know for certain is Dave@DaveKleiman.com.       18· · · · A.· ·Which one?
19· · · · The others I have to check.                            19· · · · Q.· ·Verifymail@G-mail.com.
20· ·BY MR. PASCHAL:                                             20· · · · A.· ·I think it was just like a temporary account
21· · · · Q.· ·So Patrick obviously can help get access to       21· ·that I set up for my attorneys.
22· ·these two e-mail address; right?                            22· · · · Q.· ·Them being them?
23· · · · · · ·MR. FREEDMAN:· Objection.                         23· · · · A.· ·Yes.
24· · · · · · ·THE WITNESS:· I don't know.· I don't know what    24· · · · Q.· ·Do you have separate attorneys in the Computer
25· · · · access he had to them.· For Dave@DaveKleiman, yes.     25· ·Forensics lawsuit?
                                                      Page 119                                                         Page 121
·1· ·BY MR. PASCHAL:                                             ·1· · · · A.· ·I had separate, yes.
·2· · · · Q.· ·Did you access Dave Kleiman -- the one you can    ·2· · · · Q.· ·Do you have attorneys in the lawsuit now?
·3· ·access before you filed this lawsuit?                       ·3· · · · A.· ·Currently, no.
·4· · · · A.· ·Well, it only allowed me to set up a new          ·4· · · · Q.· ·So I think you have about 35 e-mail addresses
·5· ·account.· Like once I received the domain name from that    ·5· ·give or take, I don't know.· Why so many?
·6· ·point forward I start getting new e-mail to it.             ·6· · · · A.· ·I don't know.
·7· ·BY MR. PASCHAL:                                             ·7· · · · Q.· ·I want to ask you about one e-mail address in
·8· · · · Q.· ·Not old e-mails?                                  ·8· ·particular.· It's on the second page and I don't know
·9· · · · A.· ·Not old e-mail.                                   ·9· ·what number it is but it's WrightKleiman@G-mail.com.
10· · · · Q.· ·What about the Dave@DaveKleiman.com?              10· ·What's the purpose of that e-mail account?
11· · · · A.· ·That's what I'm talking about.· Once I            11· · · · A.· ·It probably had something to do with the
12· ·received the domain at that point --                        12· ·litigation but I would have to look at it to see. I
13· · · · Q.· ·Do you have any old e-mails?· I'm sorry.· Do      13· ·don't remember offhand.
14· ·you want me to repeat the question because I wasn't         14· · · · Q.· ·Have you produced documents from that e-mail
15· ·finished?                                                   15· ·account?
16· · · · A.· ·I may have some old that Patrick produced. I      16· · · · A.· ·I don't know.
17· ·have to check.                                              17· · · · Q.· ·I think we have one document which you
18· · · · Q.· ·So the only -- I want to break this down.· So     18· ·produced to us where you communicated with the ATO which
19· ·the only e-mails that you have from Dave are coming from    19· ·is this e-mail address?
20· ·Patrick; right?                                             20· · · · A.· ·Maybe that's what it was.
21· · · · · · ·MR. FREEDMAN:· Objection.                         21· · · · Q.· ·Do you recall in this e-mail asking ATO if
22· · · · · · ·THE WITNESS:· Yes.                                22· ·they're continuing to investigate your brother and
23· ·BY MR. PASCHAL:                                             23· ·Craig?
24· · · · Q.· ·So none of them are coming from these five        24· · · · A.· ·Can you repeat that?
25· ·e-mail addresses directly?                                  25· · · · Q.· ·Do you remember if in that e-mail if you asked


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                                                      Page 122                                                         Page 124
·1· ·the ATO whether they're investigating your brother as in    ·1· ·BY MR. PASCHAL:
·2· ·Dave Kleiman and Craig Wright?                              ·2· · · · Q.· ·Is Jeremy Mudford, is he the liquidator for
·3· · · · A.· ·I don't specifically remember what I discussed    ·3· ·Coin Exchange?
·4· ·with them.                                                  ·4· · · · A.· ·That's what he told me, yes.
·5· · · · Q.· ·Did the ATO ever tell you we're not               ·5· · · · Q.· ·I want you to look at his e-mail to you
·6· ·investigating David Kleiman?                                ·6· ·August 29, 2017.· Do you recall discussing W&K that you
·7· · · · A.· ·They never mentioned that to me.                  ·7· ·believe that Dr. Wright transferred assets from W&K to
·8· · · · · · ·MR. PASCHAL:· I'm showing you your e-mail to      ·8· ·Coin Exchange and then to other various entities?
·9· · · · Michael Hardy on June 30th 2015.                       ·9· · · · A.· ·Are you referring to an e-mail?
10· · · · · · ·(Defendant's Exhibit No. 16 was                   10· · · · Q.· ·I'm just asking.· Do you remember telling
11· · · · · · ·marked for identification.)                       11· ·Jeremy Mudford that, yes or no?
12· ·BY MR. PASCHAL:                                             12· · · · A.· ·Can you repeat that?
13· · · · Q.· ·At the bottom you say "dear Mr. Hardy, I          13· · · · Q.· ·Do you remember telling Jeremy Mudford that
14· ·understand that you are investigating a case involving      14· ·Dr. Wright transferred from W&K assets to Coin Exchange
15· ·my brother David Kleiman and his partner Craig Wright.      15· ·and then to other entities that he was involved in?
16· ·Could you tell me if you are still seeking new              16· · · · A.· ·I don't remember specifically saying that but
17· ·information regarding this case or if it was closed can     17· ·if you show me the e-mail --
18· ·you tell me when.· Thank you, Ira Kleiman."· Do you         18· · · · Q.· ·I'll show it to you in a second.· Let's go to
19· ·remember that?                                              19· ·the bottom here.· On Jeremy Mudford's e-mail to you
20· · · · A.· ·Yes.                                              20· ·August 29, 2017?
21· · · · Q.· ·And at the top -- I guess he doesn't give you     21· · · · A.· ·First page?
22· ·an answer but at the top you say "what you can confirm      22· · · · Q.· ·Yes.
23· ·there is presently no investigation of Dr. Craig Wright     23· · · · A.· ·Of course.
24· ·and my brother."· You see that?                             24· · · · Q.· ·It says "dear Ira, I referred to your e-mail
25· · · · A.· ·Yes.                                              25· ·below in your prior e-mail correspondence regarding the

                                                      Page 123                                                         Page 125
·1· · · · Q.· ·Did Mr. Hardy ever tell you one way or the        ·1· ·company.· Besides the information provided which
·2· ·other or give you an answer to that question one way or     ·2· ·predominately has consisted of various blog site
·3· ·another?                                                    ·3· ·articles it would be appreciated if you could provide
·4· · · · A.· ·I guess if there's no e-mail to it probably       ·4· ·any tangible evidence that the company, being Coin
·5· ·not.                                                        ·5· ·Exchange, and/or its related entities" and you were
·6· · · · Q.· ·So was WrightKleiman@G-mail.com was it used       ·6· ·talking about W&K "that we have been appointed over any
·7· ·for any other reason?                                       ·7· ·IP which may include related to Bitcoin.· In the interim
·8· · · · A.· ·Not that I remember.                              ·8· ·our preliminary investigations do not reveal any
·9· · · · Q.· ·Let's talk about Coin Exchange briefly.· You      ·9· ·trademark registration to the company name" and then he
10· ·had 10.5 million shares in Coin Exchange; right?            10· ·refers you to two links supporting his conclusion.· Do
11· · · · A.· ·Yes.                                              11· ·you recall that e-mail?
12· · · · Q.· ·Now, you understand that Coin Exchange is         12· · · · A.· ·Yes.
13· ·under the control of an Australian liquidator; right?       13· · · · Q.· ·This is in 2017.· In 2018 do you have any
14· · · · A.· ·I didn't know who took control of it.             14· ·communications with Jeremy Mudford?
15· · · · Q.· ·Is it your testimony today that you don't know    15· · · · A.· ·Do you have any e-mails that --
16· ·who took control of it?                                     16· · · · Q.· ·I don't.· That's why I'm asking.
17· · · · A.· ·Yes, I wasn't sure what happened with Coin        17· · · · A.· ·I don't know.
18· ·Exchange.· I knew a liquidator was trying to find out       18· · · · Q.· ·Do you have any e-mails for 2019?
19· ·information about Coin Exchange but I'm not exactly sure    19· · · · A.· ·Pretty sure, no.
20· ·what activity they did.                                     20· · · · Q.· ·Let's talk about W&K.· You said you first
21· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail with      21· ·learned of W&K through Dr. Wright; is that correct?
22· · · · Mr. Jeremy Mudford.· And these are August 31st         22· · · · A.· ·Yes.
23· · · · 2017.                                                  23· · · · Q.· ·At the time -- well, you reinstated W&K as a
24· · · · · · ·(Defendant's Exhibit No. 17 was                   24· ·company in I think it was March of 2018; correct?
25· · · · · · ·marked for identification.)                       25· · · · A.· ·I don't remember the date.


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IRA KLEIMAN (ESTATE OF DAVID KLEIMAN), ET AL. vs CRAIG WRIGHT
IRA KLEIMAN on 04/08/2019                                                                                      Pages 126..129
                                                      Page 126                                                         Page 128
·1· · · · Q.· ·But you reinstated it; correct?                   ·1· · · · documents about W&K.· That includes W&K's
·2· · · · A.· ·Yes.                                              ·2· · · · membership and its filings with Sunbiz.org.· That
·3· · · · Q.· ·When you reinstated W&K what was its business     ·3· · · · is the definition of proprietary documents.
·4· ·purpose?                                                    ·4· · · · · · ·MR. FREEDMAN:· And the location.
·5· · · · · · ·MR. FREEDMAN:· Hold on.· Where are you in your    ·5· · · · · · ·MR. PASCHAL:· Also very basic allegation in
·6· · · · topics?                                                ·6· · · · the second amended complaint.
·7· · · · · · ·MR. PASCHAL:· W&K, information regarding W&K.     ·7· · · · · · ·MR. FREEDMAN:· You'll have another chance to
·8· · · · · · ·MR. FREEDMAN:· I don't see a general              ·8· · · · depose Ira when you can go to the merits.· Right
·9· · · · information regarding W&K.· Maybe I'm missing it.      ·9· · · · now you're supposed to be asking location
10· · · · · · ·MR. PASCHAL:· I guess this is going to go to      10· · · · proprietary documents.
11· · · · the location of W&K's proprietary documents and        11· ·BY MR. PASCHAL:
12· · · · information slips identified W&K purchases, bit        12· · · · Q.· ·Do you have documents establishing W&K's
13· · · · message account, Panama and also W&K's membership.     13· ·membership?
14· · · · · · ·MR. FREEDMAN:· What was the question?· Can you    14· · · · A.· ·From like SunBiz?
15· · · · read it back?                                          15· · · · Q.· ·Do you have any documents establishing W&K's
16· · · · · · ·(Thereupon, a portion of the record               16· ·membership?
17· · · · · · ·was read back by the reporter.)                   17· · · · A.· ·The only documents would be whatever I found
18· · · · · · ·MR. FREEDMAN:· Don't answer the question.         18· ·on the SunBiz web site.
19· ·BY MR. PASCHAL:                                             19· · · · Q.· ·Does SunBiz.org list every member of a
20· · · · Q.· ·Can you tell me what W&K's business purpose       20· ·company?
21· ·ever was?                                                   21· · · · A.· ·I don't know.
22· · · · · · ·THE WITNESS:· According to Craig it was for       22· · · · · · ·(Thereupon, a portion of the record
23· · · · research purposes and mining of Bitcoin.               23· · · · · · ·was read back by the reporter.)
24· ·BY MR. PASCHAL:                                             24· · · · · · ·THE WITNESS:· No, I don't know.
25· · · · Q.· ·Based on your personal knowledge what was the     25
                                                      Page 127                                                         Page 129
·1· ·business purpose of W&K?                                    ·1· ·BY MR. PASCHAL:
·2· · · · A.· ·Like I said according to Craig --                 ·2· · · · Q.· ·Do you have any documents from the Department
·3· · · · Q.· ·Not according to Craig.· Based on your own        ·3· ·of Finance telling you that SunBiz.org you cannot rely
·4· ·personal knowledge?                                         ·4· ·on it to determine the membership of a company?
·5· · · · A.· ·My own personal knowledge about W&K came from     ·5· · · · · · ·MR. FREEDMAN:· Objection.
·6· ·Craig Wright.                                               ·6· · · · · · ·THE WITNESS:· No.
·7· · · · Q.· ·So you have no testimony, documents or            ·7· ·BY MR. PASCHAL:
·8· ·evidence other than Craig Wright?                           ·8· · · · Q.· ·You do not -- is it your testimony you do not
·9· · · · A.· ·Correct.                                          ·9· ·have a document stating that?
10· · · · Q.· ·About W&K?                                        10· · · · A.· ·The Department of Finance -- say that again?
11· · · · A.· ·What's that?                                      11· · · · Q.· ·From the Department of Finance stating that
12· · · · Q.· ·About W&K?                                        12· ·you cannot rely on SunBiz.org to determine membership of
13· · · · A.· ·Yes.                                              13· ·the company?
14· · · · Q.· ·When you reinstated W&K you removed Coin          14· · · · A.· ·I'm not aware of it.
15· ·Exchange and Ms. Uyen as its publicly identified            15· · · · Q.· ·Before you filed this lawsuit or before you
16· ·members, do you recall that?                                16· ·filed your amended complaint in this lawsuit are there
17· · · · · · ·MR. FREEDMAN:· Can you repeat the question?       17· ·any documents with Jeremy Mudford where you discussed
18· · · · Sorry, I didn't hear.                                  18· ·removing Coin Exchange as a member of W&K?
19· · · · · · ·(Thereupon, a portion of the record               19· · · · A.· ·Discussing with Jeremy Mudford?
20· · · · · · ·was read back by the reporter.)                   20· · · · Q.· ·The liquidator for Coin Exchange.
21· · · · · · ·MR. FREEDMAN:· Don't answer the question. I       21· · · · A.· ·I don't believe so.
22· · · · don't see where it connects to your topics about       22· · · · Q.· ·Do you have any documents that are resignation
23· · · · W&K's e-mail addresses, bit message accounts or W&K    23· ·letters from any members of W&K before you reinstated
24· · · · Panama.                                                24· ·and listed yourself as the member of W&K?
25· · · · · · ·MR. PASCHAL:· I'm asking about proprietary        25· · · · A.· ·No.


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·1· · · · Q.· ·Did you take out any loans on W&K's behalf?       ·1· · · · · · ·MR. FREEDMAN:· Objection.
·2· · · · A.· ·Not that I'm aware of.                            ·2· · · · · · ·THE WITNESS:· I believe so.
·3· · · · Q.· ·Are you paying -- are there any tax returns       ·3· ·BY MR. PASCHAL:
·4· ·right now for W&K or any tax information for W&K?           ·4· · · · Q.· ·Who are those third parties?
·5· · · · A.· ·No.                                               ·5· · · · A.· ·A company that assists in funding litigation
·6· · · · Q.· ·Are you paying W&K's taxes?                       ·6· ·cases.
·7· · · · A.· ·No.                                               ·7· · · · Q.· ·What's the name of that company?
·8· · · · Q.· ·Do you know who last paid W&K's taxes?            ·8· · · · A.· ·Parabelum.
·9· · · · A.· ·No.                                               ·9· · · · Q.· ·Can you say that again?
10· · · · Q.· ·Does W&K have any revenue for this year?          10· · · · A.· ·Parabelum.
11· · · · A.· ·Not that I'm aware of.                            11· · · · Q.· ·When did you give that complaint to Parabelum?
12· · · · Q.· ·Does W&K have any revenue from last year?         12· · · · A.· ·I don't remember the date.
13· · · · A.· ·Not that I'm aware of.                            13· · · · Q.· ·When did you first meet Parabelum?
14· · · · Q.· ·Are you conducting any business on behalf of      14· · · · A.· ·I don't remember the date.
15· ·W&K?                                                        15· · · · Q.· ·Was it 2016?
16· · · · A.· ·Me personally?                                    16· · · · A.· ·I would have to go look at the records.
17· · · · Q.· ·Yes.                                              17· · · · Q.· ·Did Parabelum give you any money?
18· · · · A.· ·No.                                               18· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you
19· · · · Q.· ·Is anyone conducting business on behalf of        19· · · · on?
20· ·W&K?                                                        20· · · · · · ·MR. PASCHAL:· This goes to -- this really goes
21· · · · A.· ·No.                                               21· · · · to 31 but he just answered something different so
22· · · · Q.· ·Has W&K assigned any of its rights in this        22· · · · I'm --
23· ·lawsuit to anyone else?                                     23· · · · · · ·MR. FREEDMAN:· How does it go into 31? I
24· · · · · · ·MR. FREEDMAN:· Hold on.· What topic are you       24· · · · don't see how it ties into 31.· If you want to ask
25· · · · on?                                                    25· · · · it with a tie in to 31 I'm happy to listen to it,
                                                      Page 131                                                         Page 133
·1· ·BY MR. PASCHAL:                                             ·1· ·otherwise don't answer the question.
·2· · · · Q.· ·Are there any documents showing whether or not    ·2· · · · MR. PASCHAL:· Let me break that down in two
·3· ·W&K assigned any of its interest in its lawsuit to          ·3· ·things.· One, we asked questions about this
·4· ·anyone else?                                                ·4· ·regarding interrogatories, you objected.· We spoke
·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.         ·5· ·on the phone yesterday we told you we would lay the
·6· · · · · · ·MR. PASCHAL:· Under what basis?                   ·6· ·record here so the judge could make a ruling based
·7· · · · · · ·MR. FREEDMAN:· If such documents exist they       ·7· ·on the record and we wrote these topics what we
·8· · · · would be work product.                                 ·8· ·knew.· I can't give exact topics on events because
·9· · · · · · ·MR. PASCHAL:· An assignment of a claim?· That     ·9· ·I just didn't know your witness would say that. I
10· · · · would be work product?                                 10· ·can't -- I mean --
11· · · · · · ·MR. FREEDMAN:· You don't like the instruction     11· · · · MR. FREEDMAN:· I had the same problem deposing
12· · · · bring it to the judge.                                 12· ·Dr. Wright.
13· · · · · · ·MR. PASCHAL:· I'm just trying to get it. I        13· · · · MR. PASCHAL:· That's the problem.· That's not
14· · · · just want the record to be complete on the             14· ·here right now.· I wasn't there.
15· · · · objection.· So you're saying that an assignment of     15· · · · MR. FREEDMAN:· Just saying the parties kept
16· · · · claim is going to be protected by work product?        16· ·each other to their topics.· Your team members kept
17· · · · · · ·MR. FREEDMAN:· Either work product or             17· ·me to my topics so keeping you to your topics.
18· · · · attorney-client privilege or the common interest       18· ·Goose gander provision.
19· · · · privilege, yes.                                        19· · · · MR. PASCHAL:· Did Parabelum give you any
20· ·BY MR. PASCHAL:                                             20· ·money?
21· · · · Q.· ·We'll skip this.· Have the allegations that       21· · · · MR. FREEDMAN:· Don't answer the question.
22· ·you made in this lawsuit or this second amended             22· · · · MR. PASCHAL:· What's the basis?
23· ·complaint or the amended complaint or its original          23· · · · MR. FREEDMAN:· First of all, I think you're
24· ·complaint been given to any third party other than your     24· ·outside the topic.· Second of all -- I think you're
25· ·attorneys?                                                  25· ·outside the topic.· I'm just going to rely on you

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·1· · · · being outside the topic.                               ·1· ·BY MS. MCGOVERN:
·2· ·BY MR. PASCHAL:                                             ·2· · · · Q.· ·What records would you have to check?
·3· · · · Q.· ·Who is BTCN1610491, LLC?                          ·3· · · · A.· ·I guess e-mail exchanges with them.
·4· · · · A.· ·I think that's a company related to the entity    ·4· · · · Q.· ·Did you give Parabelum documents relating to
·5· ·that assists in litigation funding.                         ·5· ·this case?· You don't have to say what documents?
·6· · · · Q.· ·Is that Parabelum?                                ·6· · · · · · ·MR. FREEDMAN:· Go ahead.
·7· · · · A.· ·Yes.                                              ·7· · · · · · ·THE WITNESS:· I would have to check my
·8· · · · Q.· ·So when did you first speak with Parabelum?       ·8· · · · records.
·9· · · · A.· ·Like I said I would have to check the records.    ·9· ·BY MR. PASCHAL:
10· · · · Q.· ·Did BTCN or Parabelum give you any money?         10· · · · Q.· ·What records would you have to check?
11· · · · · · ·MR. FREEDMAN:· Hold on.· We're going to           11· · · · A.· ·E-mail.
12· · · · instruct Ira not to answer the question.               12· · · · Q.· ·E-mail?· Did you sign any documents with
13· · · · · · ·MR. PASCHAL:· On what basis?                      13· ·Parabelum?
14· · · · · · ·MR. FREEDMAN:· A, on relevance and -- stay        14· · · · · · ·MR. FREEDMAN:· That's fine.· Go ahead and
15· · · · with relevance for now.                                15· · · · answer that question.
16· ·BY MR. PASCHAL:                                             16· · · · · · ·THE WITNESS:· I don't remember.· I have to
17· · · · Q.· ·Under what circumstances did BTCN give you        17· · · · check that too.
18· ·money?                                                      18· ·BY MR. PASCHAL:
19· · · · · · ·MR. FREEDMAN:· Stop.· Hold on a second.           19· · · · Q.· ·Did W&K or the estate of Dave Kleiman --
20· · · · Trying to figure out the position to take on your      20· ·strike that.· Are there any documents showing that Dave
21· · · · question.· If you want to just stop or you want        21· ·Kleiman or the estate of Dave Kleiman or W&K assigned
22· · · · take a break?                                          22· ·any portion or any right in this lawsuit to Parabelum or
23· · · · · · ·MS. MCGOVERN:· Let's take five minutes.           23· ·any third party?
24· · · · · · ·THE VIDEOGRAPHER:· The time is 2:08 p.m. and      24· · · · · · ·MR. FREEDMAN:· Don't answer the question.
25· · · · we're off the record.                                  25· · · · · · ·MR. PASCHAL:· What's the basis?
                                                      Page 135                                                         Page 137
·1· · · · · · ·(Thereupon, a brief recess was taken.)            ·1· · · · · · ·MR. FREEDMAN:· I told you the basis.
·2· · · · · · ·THE VIDEOGRAPHER:· The time is now 2:23 p.m.      ·2· ·BY MR. PASCHAL:
·3· · · · and we are now back on the record.                     ·3· · · · Q.· ·Are there any documents that give your right
·4· · · · · · ·MR. FREEDMAN:· So we just spoke with our          ·4· ·to recovery of any money to Parabelum or BTCN?
·5· · · · client.· I'm going to state for the record that        ·5· · · · · · ·MR. FREEDMAN:· Don't answer the question.
·6· · · · BTCN is owned by Parabelum Capital which is an         ·6· ·BY MR. PASCHAL:
·7· · · · entity that provides litigation financing              ·7· · · · Q.· ·In connection with getting funding from
·8· · · · assistance.· Parabelum has provided litigation         ·8· ·Parabelum did you provide any documents to support any
·9· · · · financing assistance in this case.                     ·9· ·of the allegations of the complaint?
10· · · · · · ·I am not going to allow Ira to answer any         10· · · · · · ·MR. FREEDMAN:· Don't answer that.· Well, the
11· · · · other questions about that topic because I believe     11· · · · answer yes or no you can answer.· Just don't
12· · · · it will invade either work product privilege,          12· · · · identify what, if any, documents you provided.
13· · · · attorney-client privilege or common interest           13· · · · · · ·THE WITNESS:· Yes.
14· · · · privilege.· If you want more you have to go to the     14· ·BY MR. PASCHAL:
15· · · · court but I think your record is clear now what's      15· · · · Q.· ·What documents did you provide?
16· · · · going on and what more you would want.                 16· · · · · · ·MR. FREEDMAN:· Don't answer that.
17· · · · · · ·MR. PASCHAL:· There are a few things I want.      17· ·BY MR. PASCHAL:
18· · · · · · ·MR. FREEDMAN:· You can ask but I most likely      18· · · · Q.· ·Are there any documents that you provided to
19· · · · will instruct him not to answer.                       19· ·them that you haven't produced in this case?
20· ·BY MR. PASCHAL:                                             20· · · · · · ·MR. FREEDMAN:· Don't answer that.
21· · · · Q.· ·When did you first speak to Parabelum?            21· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail you
22· · · · · · ·MR. FREEDMAN:· That you can answer.               22· · · · had with Patrick Paige on March 24th 2016.
23· · · · · · ·THE WITNESS:· I would have to go back and         23· · · · · · ·(Defendant's Exhibit No. 18 was
24· · · · check the records.                                     24· · · · · · ·marked for identification.)
25                                                               25


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·1· ·BY MR. PASCHAL:                                             ·1· ·filing question mark.· Were you ever contacted by the
·2· · · · Q.· ·In the e-mail you say "hey Patrick, I haven't     ·2· ·girl Uyen that took over David's position as director
·3· ·heard back from you about the hosting file stuff.           ·3· ·for W&K?· Patrick responds "I just found the filing
·4· ·Anyway, there is another issue I was wondering if you       ·4· ·today and I was looking for something else.· I was never
·5· ·can help me with.· I'm trying to locate any documents       ·5· ·contacted by anyone about W&K and never heard the girl."
·6· ·related to the W&K business Dave operated.· I remember      ·6· · · · · · ·Then you respond on the first sentence in the
·7· ·we had a conversation at Dave's house shortly after he      ·7· ·next e-mail responding to Patrick "can you keep the
·8· ·passed away.· You were mentioning to me how my dad was      ·8· ·letter and envelope in a safe place for me?· I would
·9· ·asking for the return of a file cabinet he bought for       ·9· ·like to check it out some time."
10· ·Dave and you said something like what does your dad need    10· · · · · · ·Then Patrick responds "yes, I will keep it.
11· ·another file cabinet.· I was like I don't know I guess      11· ·It seems weird that the address of the envelope is
12· ·he just wants it because he bought it.· Of course I         12· ·handwritten considering it came from the Supreme Court."
13· ·didn't think anything of it at the time but it just         13· ·How did Patrick get the original envelope from the
14· ·donned on me maybe inside that cabinet is where Dave        14· ·Australian case?
15· ·stored his W&K related stuff.· You didn't possibly come     15· · · · · · ·MR. FREEDMAN:· Objection.
16· ·across any papers mentioning W&K."· Do you remember this    16· ·BY MR. PASCHAL:
17· ·e-mail?                                                     17· · · · Q.· ·Strike that.· Do you know where Patrick found
18· · · · A.· ·Yes.                                              18· ·the original court mailing about W&K?
19· · · · Q.· ·Did you ever recover that file cabinet?           19· · · · A.· ·I assume it would be to the mailing address --
20· · · · A.· ·No.                                               20· ·the Computer Forensics mailing address that they shared.
21· · · · Q.· ·Did you ever see what was in that file            21· · · · Q.· ·Was that the address that was listed for W&K
22· ·cabinet?                                                    22· ·on SunBiz.org as the registered agent?
23· · · · A.· ·No.                                               23· · · · A.· ·I would have to check.· I don't remember what
24· · · · Q.· ·Why did you believe that Dave may have kept       24· ·that address is.
25· ·his W&K stuff in that file cabinet?                         25· · · · Q.· ·Could this envelope had been -- you sent this

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·1· · · · · · ·MR. FREEDMAN:· Objection.                         ·1· ·e-mail four days after you asked about the file cabinet.
·2· · · · · · ·THE WITNESS:· I didn't know what was kept in      ·2· ·Could this envelope have been in the file cabinet?
·3· · · · the file cabinet.                                      ·3· · · · A.· ·I never asked Patrick where he found it.
·4· ·BY MR. PASCHAL:                                             ·4· · · · Q.· ·Did you ever recover the envelope from
·5· · · · Q.· ·Well, I'm asking -- so --                         ·5· ·Patrick?
·6· · · · A.· ·I wanted to determine what was --                 ·6· · · · A.· ·No, I think he just e-mailed me like a scan of
·7· · · · · · ·MR. FREEDMAN:· There's no question pending,       ·7· ·it.
·8· · · · Ira.                                                   ·8· · · · Q.· ·What was the document?· What was the contents
·9· ·BY MR. PASCHAL:                                             ·9· ·of the document?
10· · · · Q.· ·Are there any documents showing or any            10· · · · A.· ·I would have to look at it.· I don't remember.
11· ·documents evidencing or supporting your belief that W&K     11· · · · Q.· ·Was it the statement of claim in Australia?
12· ·documents may have been inside that cabinet?                12· · · · A.· ·I would have to look at it.· I remember seeing
13· · · · A.· ·No.                                               13· ·like an envelope but I don't remember what the contents
14· · · · · · ·MR. PASCHAL:· I'm showing you an e-mail with      14· ·inside of it was.
15· · · · Patrick Paige on March 17, 2017.                       15· · · · Q.· ·So is it fair to say that something was mailed
16· · · · · · ·(Defendant's Exhibit No. 19 was                   16· ·from Australia with the W&K court case to a mailing
17· · · · · · ·marked for identification.)                       17· ·address in Palm Beach from either Computer Forensics or
18· ·BY MR. PASCHAL:                                             18· ·Dave's house?
19· · · · Q.· ·If you go on the second page on March 28th        19· · · · · · ·MR. FREEDMAN:· Objection.
20· ·2016 Patrick Paige says "what would Appriver support do     20· · · · · · ·THE WITNESS:· Again I would have to go look at
21· ·for us," question mark.· "Also I found the original         21· · · · it to make sure what it was.
22· ·court mailing about W&K.· Has a case number, see            22· ·BY MR. PASCHAL:
23· ·attached."                                                  23· · · · Q.· ·Well, in your Second Amended Complaint you
24· · · · · · ·You respond -- you respond by saying I don't      24· ·allege that W&K was never served with the filings in the
25· ·know -- only relevant part is when did you find that W&K    25· ·Australian court.· Do you recall that?


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·1· · · · A.· ·I believe --                                      ·1· · · · A.· ·I would have to check.· I don't remember.
·2· · · · · · ·MR. FREEDMAN:· Objection.                         ·2· · · · Q.· ·Would it sound about right if you purchased
·3· · · · · · ·THE WITNESS:· I believe so.                       ·3· ·that home -- the finalized closing was in March of 2014?
·4· ·BY MR. PASCHAL:                                             ·4· · · · · · ·MR. FREEDMAN:· Objection.
·5· · · · Q.· ·Did you make the allegation -- well,              ·5· · · · · · ·THE WITNESS:· I would have to check.· I know
·6· ·obviously -- you sent this e-mail before you made that      ·6· · · · it was 2014.
·7· ·allegation; correct?                                        ·7· ·BY MR. PASCHAL:
·8· · · · A.· ·I think so.                                       ·8· · · · Q.· ·Then Craig first reached out to you in about
·9· · · · Q.· ·And you never bothered -- sorry, you never        ·9· ·February 2014?
10· ·read that document before you filed the complaint?          10· · · · A.· ·Right.
11· · · · · · ·MR. FREEDMAN:· Objection.                         11· · · · Q.· ·Telling you about Bitcoin?
12· · · · · · ·THE WITNESS:· I'm pretty sure I did.              12· · · · A.· ·Yes.
13· ·BY MR. PASCHAL:                                             13· · · · Q.· ·You paid $450,000 cash for that house?
14· · · · Q.· ·But you just don't remember what it says?         14· · · · · · ·MR. FREEDMAN:· Objection, don't answer.
15· · · · A.· ·I don't remember now.· I have to look at it.      15· ·BY MR. PASCHAL:
16· · · · Q.· ·Just earlier I asked you about two homes you      16· · · · Q.· ·Did the purchase of that house have anything
17· ·had.· I think one was on Bent Tree that's the one you       17· ·to do with the administration of the estate or Bitcoin?
18· ·you live in now?                                            18· · · · A.· ·No.
19· · · · A.· ·Yes.                                              19· · · · Q.· ·Do you have documents reflecting that?
20· · · · Q.· ·Then you had one on Geminata?                     20· · · · · · ·MR. FREEDMAN:· Objection.· You can answer.
21· · · · A.· ·Geminata Court.                                   21· · · · · · ·THE WITNESS:· Showing that it didn't have
22· · · · Q.· ·You didn't sell your first home when you          22· · · · anything to do with --
23· ·purchased your second home; right?                          23· ·BY MR. PASCHAL:
24· · · · A.· ·Correct.                                          24· · · · Q.· ·Yes.· That the source of funds for that house
25· · · · Q.· ·You kept it until about 2018?                     25· ·did not come from Dave's possession, Bitcoin?
                                                      Page 143                                                         Page 145
·1· · · · A.· ·I would have to check.· Possibly.                 ·1· · · · A.· ·I probably do.
·2· · · · Q.· ·On your second home there's no mortgage           ·2· · · · Q.· ·What documents would that be?
·3· ·recorded for that house?                                    ·3· · · · A.· ·I guess a check written by myself for the
·4· · · · · · ·MR. FREEDMAN:· Don't answer the question.         ·4· ·house.
·5· · · · · · ·MR. PASCHAL:· On what basis?                      ·5· · · · Q.· ·What about the underlying funds for that
·6· · · · · · ·MR. FREEDMAN:· What basis are you asking?         ·6· ·check?
·7· · · · Where does this tie into your topics?                  ·7· · · · · · ·MR. FREEDMAN:· Objection.· I don't understand
·8· · · · · · ·MR. PASCHAL:· Several of my topics.               ·8· · · · your question and it's touching on this area I've
·9· · · · · · ·MR. FREEDMAN:· Which one of them, name one?       ·9· · · · been instructing him not to answer so could you try
10· · · · · · ·MR. PASCHAL:· Goes to the administration of       10· · · · to clarify what you mean?
11· · · · the estate and goes into --                            11· ·BY MR. PASCHAL:
12· · · · · · ·MR. FREEDMAN:· Whether or not Ira Kleiman has     12· · · · Q.· ·Were there any documents to show that the
13· · · · a mortgage on his house goes to the administration?    13· ·underlying funds to write a $450,000 check for that
14· · · · · · ·MR. PASCHAL:· That's my question.                 14· ·house are there any documents showing it didn't come
15· · · · · · ·MR. FREEDMAN:· I instruct him not to answer       15· ·from Dave's estate, from Bitcoin, from Dave's
16· · · · unless you can convince me it comes into a topic.      16· ·possession?
17· · · · · · ·MS. MCGOVERN:· We're just going to make the       17· · · · · · ·MR. FREEDMAN:· So I don't want to instruct him
18· · · · record.                                                18· · · · not to answer if I can avoid it.· The problem is
19· ·BY MR. PASCHAL:                                             19· · · · you're asking him about proving a negative.· Are
20· · · · Q.· ·Are there any documents showing where the         20· · · · you asking whether -- obviously you don't have to
21· ·source of funds came to purchase the second home?           21· · · · adopt my formulation just to see if I can get you
22· · · · · · ·MR. FREEDMAN:· Don't answer.                      22· · · · the information you want.· Are you asking whether
23· ·BY MR. PASCHAL:                                             23· · · · there's documents that identify where the funds
24· · · · Q.· ·Did you purchase that home two or three weeks     24· · · · actually came from?
25· ·after Craig first reached out to you?                       25· · · · · · ·MR. PASCHAL:· I've asked that you've told him

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IRA KLEIMAN on 04/08/2019                                                                                      Pages 146..149
                                                      Page 146                                                         Page 148
·1· · · · not to answer so I'm asking a different one.           ·1· ·stole Dave's Bitcoin?
·2· · · · · · ·MR. FREEDMAN:· If you ask if there are            ·2· · · · · · ·MR. FREEDMAN:· Objection.
·3· · · · documents that exist to show where the funds came      ·3· · · · · · ·THE WITNESS:· I don't have like a document
·4· · · · from I'll allow him to answer.                         ·4· · · · with the kind of evidence like showing that he
·5· · · · · · ·MR. PASCHAL:· Can you repeat my question,         ·5· · · · withdrew funds like from a bank account, no.
·6· · · · Mr. Court reporter, and then you can answer?           ·6· · · · Nothing like that, no.
·7· · · · · · ·(Thereupon, a portion of the record               ·7· ·BY MR. PASCHAL:
·8· · · · · · ·was read back by the reporter.)                   ·8· · · · Q.· ·What documents led you to believe that
·9· · · · · · ·MR. FREEDMAN:· Don't answer.                      ·9· ·Dr. Wright stole from Dave?
10· ·BY MR. PASCHAL:                                             10· · · · A.· ·Lots of e-mails from Craig Wright.
11· · · · Q.· ·Are there any documents showing the source of     11· · · · Q.· ·Are the e-mails that you produced to us?
12· ·the funds to purchase the house came from?                  12· · · · A.· ·Should be.
13· · · · A.· ·I imagine yes, there should be.                   13· · · · Q.· ·In none of those e-mails does Dr. Wright say I
14· · · · Q.· ·What documents would those be?                    14· ·took Dave's Bitcoin; right?
15· · · · · · ·MR. FREEDMAN:· You can describe the types of      15· · · · A.· ·He may not have said that, no.· I would
16· · · · documents.· Don't go beyond that.                      16· ·imagine he wouldn't say that.
17· · · · · · ·THE WITNESS:· Checks.                             17· · · · Q.· ·Other than communications with Craig do you
18· ·BY MR. PASCHAL:                                             18· ·have any other documents evidencing that Dr. Wright
19· · · · Q.· ·That's it?                                        19· ·stole Bitcoin from Dave?
20· · · · A.· ·Yes.· Personal checks.                            20· · · · A.· ·I would have to check.· I don't know off the
21· · · · Q.· ·Did the purchase of the house have anything to    21· ·top of my head.
22· ·do with the financing of this lawsuit?                      22· · · · Q.· ·Sitting here today do you have any knowledge
23· · · · A.· ·No.                                               23· ·of any documents that evidence that Dr. Wright stole
24· · · · · · ·MR. PASCHAL:· I think we're almost done so can    24· ·Bitcoin from Dave?
25· · · · we take a break?                                       25· · · · A.· ·Again I would have to go back and look at all
                                                      Page 147                                                         Page 149
·1· · · · · · ·MR. FREEDMAN:· Sure.                              ·1· ·my documents.
·2· · · · · · ·THE VIDEOGRAPHER:· The time is now 2:38 p.m.      ·2· · · · Q.· ·Right now today can you recall any of them?
·3· · · · and we're off the record.                              ·3· · · · A.· ·At this moment, no.
·4· · · · · · ·(Thereupon, a brief recess was taken.)            ·4· · · · Q.· ·Do you have testimony from anyone or
·5· · · · · · ·THE VIDEOGRAPHER:· The time is 2:49 p.m. and      ·5· ·statements saying that -- or evidencing that Dr. Wright
·6· · · · we're back on the record.                              ·6· ·stole Bitcoin or intellectual property from Dave?
·7· ·BY MR. PASCHAL:                                             ·7· · · · A.· ·Testimony from other people?
·8· · · · Q.· ·Ira, could you go back to your second amended     ·8· · · · Q.· ·Or statements.
·9· ·complaint and that's probably Exhibit 2 or 3?               ·9· · · · A.· ·Not that I remember.
10· · · · · · ·MR. FREEDMAN:· 2.                                 10· · · · Q.· ·So today in this deposition you can't recall
11· ·BY MR. PASCHAL:                                             11· ·any testimony or documents?
12· · · · Q.· ·Can you go to page 46.· From 46 to 47 you         12· · · · A.· ·No.
13· ·allege that Dr. Wright stole or committed theft of          13· · · · Q.· ·That last question to be clear is about
14· ·Dave's Bitcoin, forked assets and intellectual              14· ·Bitcoin and intellectual property?
15· ·properties.· Do you see that?                               15· · · · · · ·MR. FREEDMAN:· Objection.
16· · · · A.· ·Yes.                                              16· · · · · · ·THE WITNESS:· Okay.
17· · · · Q.· ·Ira, you don't have any documents showing that    17· ·BY MR. PASCHAL:
18· ·Dr. Wright stole Dave's Bitcoin, do you?                    18· · · · Q.· ·The answer is still the same; right?
19· · · · · · ·MR. FREEDMAN:· Objection.                         19· · · · A.· ·Yes.
20· · · · · · ·THE WITNESS:· Documents?· Well, I have            20· · · · Q.· ·The answer is no?
21· · · · documents that lead me to believe that he stole        21· · · · A.· ·No.
22· · · · Dave's Bitcoin.                                        22· · · · · · ·MR. PASCHAL:· I think that's about it.
23· ·BY MR. PASCHAL:                                             23· · · · · · ·MR. FREEDMAN:· Okay.
24· · · · Q.· ·Well, let me break that down in two parts.· Do    24· · · · · · ·THE VIDEOGRAPHER:· Read or waive?
25· ·you have documents that actually show that Dr. Wright       25· · · · · · ·MR. FREEDMAN:· We'll read.

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IRA KLEIMAN on 04/08/2019                                                                                                    Pages 150..153
                                                                Page 150                                                              Page 152
                                                                           ·1· · · · · · · · · · · · · CERTIFICATE OF OATH
·1· · · · THE VIDEOGRAPHER:· The time is now 2:54 p.m
                                                                           ·2· ·THE STATE OF FLORIDA
·2· ·and this concludes the video deposition.· We're off
                                                                           ·3· · · · · · ·COUNTY OF DADE
·3· ·the record.                                                           ·4
·4· · · · THE COURT REPORTER:· Do you want to order?                       ·5· · · · I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,
·5· · · · MR. PASCHAL:· Yes.                                               ·6· ·Notary Public, State of Florida, certify that IRA
·6· · · · MR. FREEDMAN:· Take a copy as well.                              ·7· ·KLEIMAN personally appeared before me on the 8th day
·7· · · · MR. PASCHAL:· As soon as possible.                               ·8· ·of April, 2019 and was duly sworn.

·8· · · · MR. ROCHE:· Can we get a rough of that?                          ·9

·9· · · · THE COURT REPORTER:· Yes.                                        10· · · · · · ·Signed this 11th day of April, 2019.
                                                                           11
10· · · · MR. ROCHE:· You guys as well?
                                                                           12
11· · · · MR. PASCHAL:· Yes.
                                                                           13
12· · · · · · · · ·(Witness excused.)                                      14
13· · · · · · (Deposition was concluded.)                                  · · · · · · · · · ·_________________________________
14                                                                         15
15                                                                         · · · · · · · · · · · · ·Rick Levy, RPR, FPR
16                                                                         16· · · · · · · · · · · ·Notary Public - State of Florida

17                                                                         · · · · · · · · · · · · ·My Commission Expires:· 12/7/19
                                                                           17· · · · · · · · · · · ·My Commission No.:· FF 939483
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·1                                                                         ·1· · · · · · · ·E R R A T A· ·S H E E T
·2·   · · · · · · · CERTIFICATE OF REPORTER                                ·2· ·IN RE:· IRA KLEIMAN VS CRAIG WRIGHT
·3·   · · · · · ·THE STATE OF FLORIDA
·4·   · · · · · ·COUNTY OF DADE                                            ·3· ·DEPOSITION OF:· IRA KLEIMAN
·5                                                                         ·4· ·TAKEN: 4/8/2019
·6·   · · · I, Rick Levy, Registered Professional Reporter                 ·5· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
· ·   ·and Notary Public in and for the State of Florida at
·7·   ·large, do hereby certify that I was authorized to                   ·6· ·PAGE #· LINE #· ·CHANGE· · · · · · · ·REASON
· ·   ·and did report said deposition in stenotype of IRA                  ·7· ·_____________________________________________________
·8·   ·KLEIMAN; and that the foregoing pages, numbered from                ·8· ·_____________________________________________________
· ·   ·1 to 148, inclusive, are a true and correct
·9·   ·transcription of my shorthand notes of said                         ·9· ·_____________________________________________________
· ·   ·deposition.                                                         10· ·_____________________________________________________
10
                                                                           11· ·_____________________________________________________
· ·   · · · I further certify that said deposition was
11·   ·taken at the time and place hereinabove set forth                   12· ·_____________________________________________________
· ·   ·and that the taking of said deposition was commenced                13· ·_____________________________________________________
12·   ·and completed as hereinabove set out.
                                                                           14· ·_____________________________________________________
13·   · · · I further certify that I am not attorney or
· ·   ·counsel of any of the parties, nor am I a relative                  15· ·_____________________________________________________
14·   ·or employee of any attorney or counsel of party                     16· ·_____________________________________________________
· ·   ·connected with the action, nor am I financially
                                                                           17· ·Please forward the original signed errata sheet to
15·   ·interested in the action.
16·   · · · The foregoing certification of this transcript                 · · ·this office so that copies may be distributed to all
· ·   ·does not apply to any reproduction of the same by                   18· ·parties.
17·   ·any means unless under the direct control and/or
                                                                           19· ·Under penalty of perjury, I declare that I have read
· ·   ·direction of the certifying reporter.
18                                                                         · · ·my deposition and that it is true and correct
· ·   · · · IN WITNESS WHEREOF, I have hereunto set my hand                20· ·subject to· ·any changes in form or substance
19·   ·this 10TH day of April, 2019.
                                                                           · · ·entered here.
20
· ·   · · · ·_____________________________________                         21
21                                                                         22· ·DATE: ________________________
· ·   ·   ·   ·   ·   Rick Levy, RPR, FPR, Notary Public
                                                                           23
22·   ·   ·   ·   ·   in and for the State of Florida
· ·   ·   ·   ·   ·   My Commission Expires:· 12/7/19                      24· ·SIGNATURE OF
23·   ·   ·   ·   ·   My Commission No.:· FF 939483.                       · · ·DEPONENT:_________________________________
24
                                                                           25
25


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IRA KLEIMAN on 04/08/2019                                                             Page 154
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·1·   ·DATE:· · · April 11, 2019
·2·   ·TO:· VEL FREEDMAN, ESQUIRE
· ·   · · · BOIES, SCHILLER & FLEXNER LLP
·3·   · · · 100 S.E. 2nd Street
· ·   · · · Suite 2800
·4·   · · · Miami, Florida 33131
·5·   ·IN RE: IRA KLEIMAN VS CRAIG WRIGHT
·6·   ·Dear Mr. Freedman:
·7·   ·Enclosed please find the original errata page with
· ·   ·your copy of the transcript so IRA KLEIMAN may read
·8·   ·and sign their transcript.· Please have him/her make
· ·   ·whatever changes are necessary on the errata page
·9·   ·and sign it.· Then place the original errata page
· ·   ·back into the original transcript.· Please then
10·   ·forward the original errata page back to our office
· ·   ·@1080 Woodcock Road, Suite 100, Orlando, Florida
11·   ·32803.
12·   ·If the errata page is not signed by the witness
· ·   ·within 30 days after this letter has been furnished,
13·   ·we will then process the transcript without a signed
· ·   ·errata page.· If your client wishes to waive their
14·   ·right to read and sign, please have him/her sign
· ·   ·their name at the bottom of this letter and send it
15·   ·back to the office.
16·   · · · Your prompt attention to this matter is
17·   ·appreciated.
18·   ·Sincerely,
19·   ·__________________________________
· ·   ·RICK E. LEVY, RPR
20
· ·   ·I do hereby waive my signature:
21
· ·   ·___________________________________
22·   ·IRA KLEIMAN
23·   ·cc via transcript:· Bryan Paschal, Esq.
· ·   · · · · · · · · · · ·Vel Freedman, Esq.
24·   ·file copy
25




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